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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

 MARYLAND SHALL ISSUE, INC., et al., )
                                     )
 Plaintiffs,                         )
                                     )
 v.                                  ) Case No. 16-cv-3311-ELH
                                     )
 LAWRENCE HOGAN, et al.,             )
                                     )
 Defendants.                         )

      Plaintiffs’ Memorandum in Support of Cross-Motion for Summary Judgment
            and in Opposition to Defendants’ Motion for Summary Judgment

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                                          Introduction

       Maryland recently enacted a “permit-to-purchase” law, banning its law-abiding,

responsible citizens from acquiring a handgun without first applying for and obtaining a handgun

license (the “Handgun License”). To apply for a Handgun License, Marylanders must submit their

fingerprints to the Maryland State Police and complete a half day of classroom instruction as well

as a live-fire exercise. Md. Code Ann., Pub. Safety § 5-117.1 (“Section 5-117.1”); COMAR

29.03.01.29C(4). Marylanders must wait up to 30 days (and oftentimes longer) for the Maryland

State Police to conduct a background check and approve or deny the Handgun License application.

During this waiting period, Maryland completely bans its law-abiding, responsible citizens from

purchasing, renting, or receiving a handgun. After obtaining a Handgun License, Marylanders may

then apply to purchase a handgun by undergoing Maryland’s pre-existing and still continuing

handgun registration process (the “77R Handgun Registration”). Md. Code Ann., Pub. Safety § 5-

118; id. at § 123(a). This process requires purchasers to register their firearm, undergo another,

redundant background check, and then wait another seven business days before finally acquiring

their handgun. Id. This social experiment is a ban on handgun acquisition for self-defense in the

homes of law-abiding, responsible citizens who do not undertake the Handgun License’s onerous

requirements. It is precluded by the Second Amendment.

       This ban has no historical antecedent and is inconsistent with the understanding of the right

to keep and bear arms at the time of the founding. Maryland’s Handgun License is unconstitutional

under District of Columbia v. Heller, 554 U.S. 570, 628 (2008) (“The handgun ban amounts to a

prohibition of an entire class of ‘arms’ that is overwhelmingly chosen by American society for that

lawful purpose.”). Heller made clear that a handgun ban extending “to the home, where the need

for defense of self, family, and property is most acute” simply cannot survive constitutional

scrutiny. Id. at 628–29 (“Under any of the standards of scrutiny that we have applied to enumerated


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constitutional rights, banning from the home ‘the most preferred firearm in the nation to ‘keep’

and use for protection of one’s home and family,’ would fail constitutional muster.”). The Handgun

License does precisely this, and it is therefore unconstitutional.

       Maryland’s Handgun License requirement is also unconstitutional under the two-part

approach adopted by the United States Court of Appeals for the Fourth Circuit to adjudicate

Second Amendment claims. Under the first part, the Handgun License indisputably burdens the

fundamental right of law-abiding, responsible Maryland citizens to acquire a handgun for self-

defense in the home. Under the second part, strict scrutiny is appropriate because the Handgun

License burdens conduct at the Second Amendment’s core. Defendants cannot demonstrate that

the Handgun License requirement is appropriately tailored to meet a compelling interest. To the

contrary, the undisputed facts show that the Handgun License requirement adds a burdensome,

wholly-unnecessary, and ineffective burden to Maryland’s pre-existing 77R Handgun Registration

requirement. It therefore is not appropriately tailored, and summary judgment for the Plaintiffs is

appropriate.

                                  Statement of Undisputed facts

       A.      Plaintiffs

       Plaintiff Atlantic Guns, Inc. is a family-owned firearms retailer founded in 1950 by the

current owner’s father. See Declaration of Stephen Schneider (“Schneider Decl.”), Ex. 1, at ¶ 2.

Atlantic Guns is a licensed Maryland regulated firearms dealer with locations in Silver Spring and

Rockville, Maryland. Id. at ¶¶ 3–4. It buys, sells, receives, and transfers firearms including

handguns within and without Maryland. Id. at ¶ 3. Atlantic Guns’ customers and prospective

customers are law-abiding, responsible Maryland citizens who wish to possess handguns for self-

defense in their homes but are prevented and deterred from doing so by Maryland’s Handgun

License requirement. Id. at ¶ 5. Handguns are the most popular firearm choice of Atlantic Guns’


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customers for self-defense in the home. Id. at ¶ 6. The Handgun License causes Atlantic Guns to

turn away would-be handgun customers every week. Id. at ¶ 8. Since the Handgun License took

effect five years ago, Atlantic Guns has turned away hundreds of customers who wished to

purchase handguns but lacked a Handgun License. Id. In addition to delaying or denying its

customers’ acquisition of handguns, this has severely impacted Atlantic Guns’ business. Id. at ¶ 7.

According to the Maryland State Police records, Atlantic Guns’ handgun sales and revenue are

down substantially since the Handgun License requirement was imposed. Id. at ¶ 9.

       Plaintiff Maryland Shall Issue, Inc. (“MSI”) is a non-profit membership organization

incorporated under the laws of Maryland with its principal place of business in Annapolis,

Maryland, with over 1,100 members, statewide. “MSI is an all-volunteer, non-partisan

organization dedicated to the preservation and advancement of gun owners’ rights in Maryland. It

seeks to educate the community about the right of self-protection, the safe handling of firearms,

and the responsibility that goes with carrying a firearm in public.” Maryland Shall Issue, About

Us, available at https://www.marylandshallissue.org/jmain/index.php (last visited October 5,

2018). MSI promotes and defends the exercise of the right to keep and bear arms in and outside

the home. As part of its mission, MSI actively encourages law-abiding, adult citizens of Maryland,

members and non-members alike, to acquire handguns for lawful self-defense in and outside the

home. The Handgun License requirement and the implementing Maryland State Police regulations

burden the exercise of the right of law-abiding residents of Maryland, including MSI members, to

acquire handguns for lawful self-defense in and outside the home and thus frustrates MSI’s

mission. Declaration of Mark Pennak (“Pennak Decl.”), Ex. 2, at ¶¶ 2–3, 6. The membership of

MSI includes each of the named Individual Plaintiffs in this suit as well as numerous other

individuals who do not possess a Handgun Qualification License and who are faced with the




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obstacles created by Section 5-117 and the implementing regulations of the Maryland State Police,

which infringe upon their constitutional right to purchase a handgun in Maryland. Id. at ¶ 3. MSI

brings this suit on its own behalf as an organization and on behalf of its members who do not have

a Handgun License or who are threatened with arbitrary or discriminatory enforcement of the

vague provisions of the Handgun License requirements. MSI has many such members. Id.

       This burden has adversely impacted the ability of MSI to attract new members, as MSI

membership is largely composed of individuals who have or seek to have handguns in the home

for lawful self-defense. Id. at ¶ 6. As individuals acquire handguns, they are more likely to join

MSI so as to defend their Second Amendment rights. Id. Loss of potential members, with the

consequent loss of membership dues and contributions, have reduced the ability of MSI to promote

its agenda and achieve its purposes. Id.

       Plaintiff Susan Brancato Vizas is a Maryland resident and a MSI member who has been

negatively impacted by the newly enacted Handgun License requirements. Deposition of Susan

Vizas (“Vizas Dep.”), Ex. 3, at 9:20–10:4. Ms. Vizas has never owned a firearm, however, in 2015,

Ms. Vizas decided that she wanted to purchase a handgun when her daughter expressed an interest

in shooting. Id. at 18:13–16. She also wanted to purchase a handgun for self-defense, target

practice, the ability to inherent her father’s gun, and other lawful purposes. Id. at 18:4–12, 24:14-

25:10. Ms. Vizas has taken and passed the hunter safety training in the State of Maryland but

because of the additional costs and time commitment of acquiring a handgun pursuant to the

Handgun License laws, she has been dissuaded from further pursuing purchase of a handgun. Id.

at 36:20–37:3, 43:6–17. These additional burdens have significantly impacted Ms. Vizas’ ability

to purchase a handgun. Id.




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       Plaintiff Deborah Kay Miller is a Maryland resident and MSI member. She is employed by

the Department of Defense. Deposition of Deborah Miller (“Miller Dep.”), Ex. 4, at 8:8–12, 9:18–

21, 29:10–11. Ms. Miller has never owned a firearm, however, in 2017 she decided that she wanted

to purchase a handgun so that she would be able to defend herself in her own home. Id. at 13:17–

18, 18:5–19:1. Ms. Miller understands the financial burden of purchasing a handgun and despite

the financial ability to do so, she has been discouraged from acquiring a handgun due to physical

limitations which negatively impact her ability to complete the required training under the

Handgun License laws. Id. at 21:15–17, 33:1–5, 34:10–17. Because Ms. Miller does not possess a

Handgun Qualification License, she is faced with the obstacles created by Section 5-117.1 and the

regulations of the Maryland State Police, through implementation, concerning her constitutional

right to purchase a handgun in Maryland. Id. at 33:1–7.

       B.      The 77R Handgun Registration process (effective October 1, 2003 – present)

       Since 2003, Maryland has required prospective handgun purchasers to undergo the 77R

Handgun Registration process. Md. Code Ann., Pub. Safety § 5-118 (effective Oct. 1, 2003). The

77R Handgun Registration process applies to all handgun transactions in Maryland, whether

through a firearms dealer, private, or otherwise. Md. Code Ann., Pub. Safety § 5-118; Deposition

of Daniel Webster (“Webster Dep.”), Ex. 5, at 70:18–21. This process has ensured that individuals

prohibited from possessing firearms do not acquire or possess a handgun in Maryland. See

Deposition of Andy Johnson (“A. Johnson Dep.”), Ex. 6, at 116:1–11. The 77R Handgun

Registration process requires applicants to submit “a firearm application on the form that the

Secretary [of the Maryland State Police] provides” and pay a $10 fee at the point of purchase. Md.

Code Ann., Pub. Safety § 5-118(a).

       The 77R Handgun Registration allows Defendants to positively identify handgun

applicants because applicants provide their “name, address, Social Security number, place and date


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of birth, height, weight, race, eye and hair color, signature, driver’s [license] or photographic

identification soundex number, [and] occupation.” Md. Code Ann., Pub. Safety § 5-118(b)(1); see

also A. Johnson Dep., Ex. 6, at 112:8–15. Maryland’s compliance with the federal REAL ID Act,

see Dept. Homeland Sec., REAL ID Enforcement: Maryland, https://www.dhs.gov/real-

id/maryland, (last visited October 5, 2018). further ensures that the Maryland “driver’s or

photographic identification” is authentic, see 6 C.F.R. 37.15(a)(b), because the REAL ID Act

requires Maryland to “include document security features on REAL ID driver’s licenses and

identification cards designed to deter forgery and counterfeiting.”1 Id. Moreover, under federal

law, no Maryland resident may purchase a handgun in any state other than Maryland. 18 U.S.C.

§§ 922(a)(3), (a)(5), (b)(3).

          Defendants use information from the 77R Handgun Registration to conduct a background

check on the prospective firearms purchaser, including a National Instant Background Check. See

Webster Dep., Ex. 5, at 73:1–15; Deposition of James Johnson (“J. Johnson Dep.”), Ex. 7, at 19:5–

21:20. The 77R Handgun Registration process also requires Marylanders to wait seven business

days (at least nine days total) after purchasing a handgun before taking possession of it. Md. Code

Ann., Pub. Safety § 5-123(a). The 77R Handgun Registration process further requires applicants

to register the purchased firearm with the Maryland State Police, Md. Code Ann., Pub. Safety §

118(a), allowing Defendants to locate and disarm individuals who subsequently become prohibited

from handgun ownership. Webster Dep., Ex. 5, at 19:14–22:12.



1
  6 C.F.R. 37.15(a)(b) (such ID cards “must contain at least three levels of integrated security features that provide the
maximum resistance to persons’ efforts to – (1) Counterfeit, alter, simulate, or reproduce a genuine document; (2)
Alter, delete, modify, mask, or tamper with data concerning the original or lawful card holder; (3) Substitute or alter
the original or lawful card holder’s photograph and/or signature by any means; and (4) Create a fraudulent document
using components from legitimate driver’s licenses or identification cards.” Moreover, “States must employ security
features to detect false cards,” including at a level of “[c]ursory examination, without tools or aids involving easily
identifiable visual or tactile features, for rapid inspection at point of usage.” 6 C.F.R. 37.15(c).



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        The 77R Handgun Registration safety course covered state firearm law, home firearm

safety, and handgun mechanisms and operation in an online presentation that lasted approximately

one hour. Deposition of James Russell (“Russell Dep.”), Ex. 8, at 83:7–11.2 The Police Training

Commission created this presentation and provided it to applicants without charge. Md. Code

Ann., Pub. Safety § 5-118(b)(3)(x) (2003). Ex. 10.

        C.      The Handgun License requirement (effective October 1, 2013 – present)

                1.       The Handgun License statute (Section 5-117.1)

        Maryland enacted Section 5-117.1 on October 1, 2013. Section 5-117.1 requires all

handgun purchasers to apply for and obtain a Handgun License before Defendants allow law-

abiding Marylanders to undertake the 77R Handgun Registration process. Section § 5-117.1(c).

To apply for a Handgun License, Marylanders must submit: (1) an online application and “a

nonrefundable application fee to cover the costs to administer the program of up to $50”; (2) proof

of completion of a qualifying safety course within three years prior to submitting a Handgun

License application; (3) a complete set of fingerprints; and (4) “a statement made by the applicant

under the penalty of perjury that the applicant is not prohibited under federal or State law from

possessing a handgun.” Section 5-117.1(f)–(g).

        This Handgun License safety course requirement replaces the 77R Handgun Registration

online presentation and covers the same subject areas: state firearm law, home firearm safety, and

handgun mechanisms and operation. Russell Dep., Ex. 8, at 83:7–11. Unlike the 77R Handgun

Registration safety course, which could be taken in an hour, the Handgun License safety course

requirement must take place in a classroom and last four hours. Section 5-117.1(d)(3). Defendants

do not control or attempt to control the content of any course. Instead, each of the hundreds of


2
 The 77R Handgun Registration safety course is attached hereto as Ex. 9 in CD-Rom format and can be viewed via
Windows Media Player.


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private instructors throughout Maryland may create their own course curriculum, and the Maryland

State Police does not monitor any course to ensure that the required material is being taught. A.

Johnson Dep., Ex. 6, at 66:21–68:21; Russell Dep., Ex. 8, at 114:11–19; see also Maryland State

Police,                     Qualified                      Handgun                         Instructor,

https://mdsp.maryland.gov/Organization/Pages/CriminalInvestigationBureau/LicensingDivision/

Training/QualifiedHandgunInstructor.aspx (“Instructors will be responsible for the specific course

and will attest/certify that they instructed the minimum criteria required in SB281.”); see also

Search       for    a    Qualified      Handgun       Instructor,    Maryland      State      Police,

https://emdsp.mdsp.org/verification/ (hundreds of instructors).

          Like the 77R Handgun Registration process, the Handgun License requires applicants to

positively identify themselves. The Handgun License application requires “a complete set of the

applicant’s legible fingerprints taken in a format approved by the Director of the Central

Repository and the Director of the Federal Bureau of Investigation.” Section 5-117.1(f)(3)(i). The

express terms of Section 5-117.1(f) require that “the Secretary [of the Maryland State Police] shall

submit” the Handgun License applicant’s fingerprints, placing the burden directly on the Secretary

of the Maryland State Police, not the applicant, to make these required submissions. The Maryland

State Police submits these fingerprints for a state and national criminal history records check and

conduct a background check. Section 5-117.1(f). This is the same background check applicants

underwent during the 77R Handgun Registration process, the only exception being that the 77R

application does not require the resubmission of fingerprints. Webster Dep., Ex. 5, at 38:11–39:3.

          The Maryland State Police must approve or deny a Handgun License application within

30-days of receiving it. Section 5-117.1(h). After the Maryland State Police approves the Handgun

License application, the Maryland State Police mails the Handgun License to the applicant.




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Deposition of Diane Armstrong (“Armstrong Dep.”), Ex. 11, at 220:20–22. At this point, Plaintiffs

may begin the 77R Handgun Registration process, including undergoing another background

check and waiting an additional seven business days to take possession of the handgun. Webster

Dep., Ex. 5, at 38:18–39:3; Md. Code Ann., Pub. Safety § 5-123. Throughout the Handgun License

and 77R Handgun Registration processes, Defendants ban Marylanders from purchasing, renting,

or receiving a handgun.

               2.     The Handgun License’s implementing regulations

       The Maryland State Police has added requirements to the Section 5-117.1 application

process by adopting regulations. First, in addition to the “firearms orientation component that

demonstrates the person’s safe operation and handling of a firearm” of Section 5.117.1(d)(3)(iii),

the regulations, COMAR 29.03.01.29C(4), tack on “a practice component in which the applicant

safely fires at least one round of live ammunition.” Section 5.117.1 makes no mention of a

“practice component,” much less any component in which the applicant must fire “one round of

live ammunition.” Such a practice component is a distinctly different requirement from the

classroom requirement mandated by Section 5-117.1. Pennak Decl., Ex. 2, at ¶ 9.

       Second, while Section 5-117.1 proscribes certain requirements regarding the curriculum of

the safety course, COMAR 29.03.01.29A adds the requirement of a certificate of completion

“issued by a Qualified Handgun Instructor.” A qualified handgun instructor is defined in Md. Code

Ann., Pub. Safety § 5-101(q), to include a person “recognized by the Maryland Police and

Correctional Training commissions,” or a person who “has a qualified handgun instructor license

issued” by the Maryland State Police, or person who “has a certification issued by a nationally

recognized firearms organization,” but the Maryland State Police only accepts certificates from

private instructors to whom it has issued licenses as qualified handgun instructors.




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https://mdsp.maryland.gov/Organization/Pages/CriminalInvestigationBureau/LicensingDivision/

Training/QualifiedHandgunInstructor.aspx.

       Third, while Section 5-117.1 requires only that a complete set of fingerprints be submitted

with the application, the Maryland State Police permits submission of fingerprints only if they are

taken via “live-scan” technology by a State-certified vendor (and submitted by the vendor, not the

applicant), COMAR 12.15.05, and requires that an application be submitted within 72 hours of the

time the prints are taken. Maryland State Police, Fingerprinting (last visited Oct. 5, 2018)

http://mdsp.maryland.gov/Organization/Pages/CriminalInvestigationBureau/LicensingDivision/F

ingerprinting.aspx. Contrary to Section 5-117.1(f)(3)(i), the Maryland State Police does not

“submit” the fingerprints to the Central Repository, the certified live-scan vendor does under

COMAR 12.15.05.03. Under this Maryland State Police-imposed process, the Maryland State

Police does not “submit” the required $30 fee for the background checks to the Central Repository,

as expressly required by Section 5-117.1(f)(3)(ii),(iii). Rather, the Maryland State Police requires

the applicant to pay that fee to the State-certified vendor directly, plus any additional fee that the

private, certified vendor is free to charge. See COMAR 12.15.05.07. The vendor then submits the

required fees to the Central Repository. Md. Dept. Of Pub. Safety, Fingerprinting

Services/Fingerprinting Courses, https://www.dpscs.state.md.us/publicservs/fingerprint.shtml,

(last visited October 5, 2018). In this manner, the Maryland State Police has avoided the statutory

tasks assigned to the Maryland State Police under Section 5-117.1(f) and imposed upon Handgun

License applicants the additional fees charged by State-certified private vendors.

       Fourth, while Section 5-117.1(g)(1) requires an applicant to submit an application “in the

manner and format designated by the Secretary,” the Maryland State Police has adopted an

application procedure that is entirely online and that places the entire burden on the applicant. See




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Maryland       State    Police,     Fingerprinting      (last       visited      Oct.       5,      2018)

http://mdsp.maryland.gov/Organization/Pages/CriminalInvestigationBureau/LicensingDivision/F

ingerprinting.aspx. None of these procedures are set forth in Section 5.117.1 or in the regulations

but may be found only online at various State web sites and Advisories.

       D.       The Handgun License’s purpose and effect are to prevent law-abiding
                Marylanders from acquiring and possessing handguns.

       Defendants’ expert Professor Daniel Webster admitted that Maryland implemented the

Handgun License to “intimidat[e]” Marylanders to prevent them from exercising their

constitutional right to acquire a handgun. Webster Dep., Ex. 5, at 30:1–33:16. Professor Webster’s

view of this legislation is particularly relevant here because he was the lead “expert” witness

proffered by then-Senator Brian Frosh, the Handgun License’s primary sponsor, in testimony

before the Maryland General Assembly in support of the legislation that became this law. Id. at

165:19–175:2.

       Maryland’s goal of preventing handgun possession in Maryland is not new. In 1999, then-

Maryland Attorney General Joseph Curran published a special report with the stated “goal” of

“eliminat[ing] widespread handgun ownership through restrictive handgun licensing.” J. Joseph

Curran, A Farewell To Arms The Solution to Gun Violence in America, at 6, 63 (Oct. 20, 1999).

Ex. 12. He reiterated those views in a speech delivered on March 9, 2000, to the “Symposium:

‘Guns as a Consumer Product: New Public Health and Legal Strategies to Reduce Gun Violence,’”

4     J.       Health     Care      L.     &       Pol’y        1      (2000),          available     at:

http://digitalcommons.law.umaryland.edu/jhclp/vol4/iss1/2, explaining that this goal “means” that

“we should restrict the future sale of handguns to those who can show a real, law enforcement

need for one.” Id. at 5. In 2013, then-Governor O’Malley signed Senate Bill 281 into law “For the

purpose of . . . prohibiting a certain person from selling, purchasing, renting, transferring, or



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receiving a certain regulated firearm unless the person presents or possesses a certain handgun

qualification license issued by the Secretary or certain credentials or identification.” See Firearm

Safety Act, 2013 Maryland Laws Ch. 427 (S.B. 281). Ex. 13. That “certain person” Maryland

intended to ban from obtaining a handgun includes every law-abiding, responsible citizen without

a Handgun License except active law enforcement and military. Section 5-117.1(a). The Handgun

License requirement implements Attorney General Curran’s view that restrictive licensing should

be used to restrict handguns to only law enforcement personnel.

         The Handgun License requirement is well on its way to accomplishing this goal. From

October 1, 2013 through 2017, the Handgun License requirement discouraged at least one-quarter

of Marylanders who wished to exercise their fundamental Second Amendment rights and who

were motivated enough to begin a Handgun License application from completing it and obtaining

their Handgun License. Compare Col. Pallozzi Third Supp. Interrog. Resp., Ex. 14, No. 5 (from

October 1, 2013 through 2017, 30,877 Marylanders started a Handgun License application but

stopped before completing it) with Collective Ex. 15, Dep. Ex. 48, 105, 106,3 (Maryland issued

93,155 Handgun Licenses during this same time). Atlantic Guns’ handgun sales decreased

substantially in that same period compared to the years prior to the Handgun License requirement,

confirming the Handgun License requirement is a barrier to handgun acquisition by law-abiding

citizens. Schneider Decl., Ex. 1, at ¶¶ 7–9. The number of law-abiding citizens who wish to

exercise their Second Amendment rights but who never even start a Handgun License application

because of the Handgun License requirement’s burdens is incalculable, but is certainly substantial.

It includes both Individual Plaintiffs.




3
  The parties numbered all deposition exhibits sequentially. Because these exhibits were used in multiple depositions,
they are simply referred to as “Dep. Ex.”


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       E.      The Handgun License requirement is burdensome.

               1.      The Handgun License requirement is time-consuming.

       The Handgun License imposes an additional statutorily-permissible 30-day waiting period,

tacked on to the 77R Handgun Registration process and mandatory seven day post-purchase

waiting period. Section 5-117.1(d), (h). But Defendants’ review often takes much longer than 30-

days. See Armstrong Dep., Ex. 11, at 59:15–60:8. Since the Handgun License requirement took

effect, more than 1,900 Marylanders have had their Handgun License application denied at the 30-

day mark as incomplete. A. Johnson Dep., Ex. 6, at 123:7–124:7, 127:19–128:14, 139:4–140:18.

These Handgun License applications were denied not because the applicant submitted an

incomplete application but because the safety course instructor or fingerprint vendor failed to

timely submit the Firearms Safety Training Certificate to the Maryland State Police or live-scan

fingerprints to the Central Repository. Id.; Armstrong Dep., Ex. 11, at 187:2–190:20. In these

instances, Defendants’ review took longer than 30 days, through no fault of the Handgun License

applicants. Armstrong Dep., Ex. 11, at 187:2–190:20.

               2.      The Handgun License requirement is inconvenient.

       In addition to the statutory delay, completing a Handgun License application takes time,

requiring prospective handgun purchasers to begin an application, find a firearms instructor,

complete a half day of firearms instruction and live-fire, locate a live-scan fingerprint vendor,

obtain fingerprints, and complete their application online.

       The safety course with live-fire requirement is inconvenient. Handgun License applicants

must locate, schedule, travel to, and attend a safety course. Deposition of Dana Hoffman

(“Hoffman Dep.”), Ex. 16, at 22:16–23:1, 24:6–14. The Handgun License safety course alone

requires at least a half day of classroom instruction. Section 5-117.1(d)(3)(i). Then, the applicant

must ensure that the Handgun License instructor submits the training verification to the Maryland


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State Police. Armstrong Dep., Ex. 11, at 47:1–48:12, 187:2–190:20. The live-fire requirement

imposes upon Handgun License applicants the burden to locate, schedule, and travel to a shooting

range. There are no ranges in Baltimore City or other urban areas accessible by mass

transportation, requiring urban residents to travel outside their cities for this training. See A.

Johnson Dep., Ex. 6, at 53:1–14; see also Russell Dep., Ex. 8, at 128:22–129:16; Pennak Decl.,

Ex. 2, at ¶¶ 15–19. The live-fire requirement also requires the applicant to secure a firearm and

ammunition. See Russell Dep., Ex. 8, at 176:16–177:14, 182:18–183:6.

         The fingerprint requirement is inconvenient. The applicant must locate a fingerprint live-

scan vendor approved by the Maryland State Police, travel to that vendor, and have his or her

fingerprints taken. Armstrong Dep., Ex. 11, at 91:8–92:19. In contrast to shooting ranges that

cannot be found in urban areas, these private fingerprinting vendors are located almost entirely in

urban areas of the State, with hardly any vendors in rural areas, including no vendors at all in small

towns and even some entire counties, thus necessitating long drives.4

         Once all of these steps are completed, the applicant must then log back online to complete

his or her application. The inconvenience and daunting complexity of all this are self-evident and

are confirmed by the volume of Handgun License-related complaints and questions received by

the Maryland State Police, totaling more than 40 phone calls and 50 emails per day. Armstrong

Dep., Ex. 11, at 101:22–103:13, 139:18–140:12. They are also confirmed by the fact that nearly

25 percent of Marylanders who initiate a Handgun License application do not complete it.


         4
              See Md. Dept. Of Pub. Safety, Fingerprinting Services/Fingerprinting Courses,
https://www.dpscs.state.md.us/publicservs/fingerprint.shtml. For example, there are no private vendors at all in
Somerset County or Kent County or Caroline County and only one vendor in Queen Anne’s County in Centreville.
Id. There is no vendor north or east of Centreville until one reaches Elkton in Cecil County on the Eastern Shore. West
of the Chesapeake, there is only one vendor in all of St. Mary’s County and only two in Calvert County. Id. Western
Maryland is similarly poorly served, with only one vendor located in Cumberland, in Allegany County, and no vendors
at all between Cumberland and McHenry in Garrett County to the west and between Cumberland and Hagerstown in
Washington County to the east. Id.



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Compare Col. Pallozzi Third Supp. Interrog. Resp., Ex. 14, No. 5 (from October 1, 2013 through

2017, 30,877 Marylanders started a Handgun License application but stopped before completing

it) with Collective Ex. 15 (Maryland issued 93,165 Handgun Licenses during this same time). In

these instances, Defendants have significantly delayed, if not outright deprived, a law-abiding

Marylander of his or her Second Amendment right to acquire a handgun. Many more law-abiding

citizens like the individual Plaintiffs are too daunted by the Handgun License requirement’s

burdens to even start a Handgun License application.

               3.       The Handgun License requirement is expensive.

       A Handgun License application costs over $200. This includes $50 to submit the

application,        Handgun     Qualification      License,      Maryland        State     Police,

https://mdsp.maryland.gov/Organization/Pages/CriminalInvestigationBureau/LicensingDivision/

Firearms/HandgunQualificationLicense.aspx (last visited Oct. 5, 2018), $75 or more to complete

the safety course and live-fire requirement, Deposition of Mark Pennak (“Pennak Dep.”), Ex. 17,

at 21:15–22:14, about $50 or more for live-scan fingerprints, a $30 fee for fingerprint background

check, and service fees charged by the vendor. Pennak Dep., Ex. 17, at 22:15–19 & Ex. 18;

Schneider Dep., Ex. 19, at 17:7–18. This does not include the cost of renting a firearm and

purchasing ammunition to complete the live-fire requirement. Nor does it include the

transportation costs in traveling to the fingerprint vendor and to the shooting range. By way of

comparison, the average cost of a new handgun in Maryland is between approximately $500 and

$600. Schneider Decl., Ex. 1, at ¶ 10. The $200+ out-of-pocket costs of obtaining a Handgun

License, plus the costs of time off from work and travel, is a disproportionate financial burden on

the exercise of a constitutional right. Under the 77R Handgun Registration process, the cost was

only $10 and required no time off from work or travel costs.




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        F.      The Handgun License requirement is unnecessary and ineffective.

                1.      The additional 30-day delay is unnecessary.

        Prior to the Handgun License requirement, Defendants investigated all potential handgun

purchasers in seven days. Md. Code Ann., Pub. Safety § 5-118; id. at § 123(a). Defendants have

not provided any support to justify a 30-day delay to process a Handgun License application, and

the record does not support the need for any such delay. Defendants even concede that some

“Handgun License applications have been processed the same business day that they are received.”

Col. Pallozzi Interrog. Resp., Ex. 20, No. 7. But the complexity of the Handgun License application

process under Section 5-117.1 and its implementing regulations is fraught with potential for

significant delay up to and beyond the statutory 30-day mandate. Many applications do not get

processed within 30 days, over 1,900 ending up on an “administrative log” in a two-and-a-half

year period because a vendor did not submit required paperwork. See Administrative Log, Ex. 21;

E.g., Armstrong Dep., Ex. 11, at 187:2–190:20. With such significant delay incumbent upon

processing and providing Handgun Licenses, Defendants’ failure to justify the necessity is a

critical failure in carrying their burden of proof.

                2.      The fingerprint requirement is unnecessary.

        The Handgun License fingerprint requirement is unnecessary to positively identify

handgun purchasers because it is redundant of the pre-existing 77R Handgun Registration

identification requirement. Defendants admit that both processes require applicants to positively

identify themselves with REAL ID compliant photographic identification. See above at pages 5–

6; A. Johnson Dep., Ex. 6, at 111:19–112:19, 116:1–11. Moreover, the fingerprint requirement is

unnecessary for Defendants to locate and disarm handgun owners who are subsequently

disqualified from handgun ownership because the 77R Handgun Registration process provided

this ability. Webster Dep., Ex. 5, at 19:14–20:14, 21:17–22:14.


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       The fingerprint requirement is beneficial only for stopping a potential purchaser whose

fingerprints are already in the Central Repository and who attempts to use a false government-

issued photographic identification of another individual who does not have a criminal record.

Maryland has no evidence that anyone in Maryland fitting this description has ever attempted to

purchase a handgun. A. Johnson Dep., Ex. 6, at 114:4–117:7. Because Maryland is now a REAL

ID compliant state, there no likelihood that false Maryland identification will be used for such a

purchase. The fingerprint requirement is unnecessary.

               3.      The classroom training with live-fire requirement is unnecessary.

       The Handgun License classroom training requirement adds an additional half day of

classroom training to the 77R Handgun Registration course requirement without expanding the

curriculum, which is the same as the 77R Handgun Registration prior course requirement. Under

both the 77R Handgun Registration and Handgun License requirements, all prospective handgun

purchasers must complete a safety course on state firearm law, home firearm safety, and handgun

mechanisms and operation. Compare Russell Dep., Ex. 8, at 83:7–11, 124:9–125:6 & Ex. 9, with

Section 5-117.1(d)(3)(i),(ii). Defendants concede that there is no difference between the old and

new courses’ curricula, Russell Dep., Ex. 8, at 80:6–83:11, except of course, the additional burden

of the live-fire requirement.

       The live-fire requirement is also unnecessary. Two of Defendants’ experts, Capt. James

Russell and former Baltimore County Police Chief James Johnson, conceded that firing a single

round with a handgun is not helpful to acquire skills of safe operation and handling of a firearm.

J. Johnson Dep., Ex. 7, at 52:14–53:2; see Russell Dep., Ex. 8, at 106:8–108:7.

               4.      The Handgun License requirement is ineffective.

       The Handgun License has not improved public safety. Comparing Maryland crime data for

the four years prior to the four years since the Handgun License took effect in 2013, the following


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have all increased: homicides, shooting homicides, handgun homicides, shooting homicide rates,

the handgun homicide rates, and the number of recovered handguns used in crime. See Md.

Criminal Statistical Data, Ex. 22.

       Moreover, Maryland has not experienced a slower rate of growth in firearm homicide rates

compared to states that do not have permit-to-purchase laws like the Handgun License. Moody

Decl., Ex. 23, at ¶¶ 4, 12–14, 16–17. Similarly, the Handgun License has not reduced firearm

homicides. See A. Johnson Dep., Ex. 6, at 98:7–99:10; Moody Decl., Ex. 23, at ¶ 8. Broadly

speaking, permit-to-purchase laws, like the Handgun License requirement, are not associated with

any reduction in a state’s firearm homicide rate. Moody Decl., Ex. 23, at ¶¶ 4, 17; See Kleck Decl.,

Ex. 24, at ¶ 5–23. In Baltimore, the homicide rate has skyrocketed since the Handgun License took

effect, topping all other major cities in 2017. See Luke Broadwater and Ian Duncan,

‘Neighborhoods are crying out’: Baltimore has highest homicide rate of U.S. big cities, The

Baltimore           Sun,             Sept.       25,          2018,           available          at

http://www.baltimoresun.com/news/maryland/crime/bs-md-ci-fbi-data-20180924-story.html.

       The fingerprint requirement, specifically, is ineffective. It does not deter straw purchasing

or purchasing with a false identification. J. Johnson Dep., Ex. 7, at 24:4–12. In fact, Defendants

have no evidence that the Handgun License requirement has stopped or deterred even a single

straw purchaser. Id. at 25:10–16. Defendants have not even attempted to determine the prevalence

of straw purchasers in Maryland. Id. at 28:6–14; A. Johnson Dep., Ex. 6, at 76:16–22. Likewise,

Defendants have no information regarding the number of purchases effectuated with a false

identification. A. Johnson Dep., Ex. 6, at 117:3–7. Additionally, Defendants have no information

demonstrating that the Handgun License has reduced the number of handguns recovered in crime

or that the Handgun License requirement has reduced the number of firearms it recovers from




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prohibited individuals each year. Id. at 78:3–79:4, 88:21–89:2, 109:17–110:11, 110:22–111:9.

Instead, Maryland implemented the fingerprint requirement, under the guise of deterring straw

purchasers, to “intimidat[e]” Marylanders and keep them from exercising their constitutional right

to acquire a handgun. Webster Dep., Ex. 5, at 30:1–33:16; see also J. Johnson Dep., Ex. 7, at

24:14–25:3.

       The classroom training with live-fire training requirement also is ineffective. The

undisputed facts confirm that the live-fire training has had no positive effect on public safety in

Maryland. Defendants have no information regarding the number of unintentional accidental

shootings in Maryland each year. A. Johnson Dep., Ex. 6, at 75:17–76:11. Defendants have no

evidence demonstrating that accidental shootings are a problem, and Defendants’ expert admits

that the live-fire requirement is not adequate. J. Johnson Dep., Ex. 7, at 52:14–53:2. Nor do

Defendants have any information demonstrating that the Handgun License has effected gun

storage practices in Maryland or that gun storage is a problem in Maryland. A. Johnson Dep., Ex.

6, at 109:17–110:11.

       G.      The statutory terms “receive” under Section 5.117.1(c) and “receipt” under
               Section 5-144 are facially vague.

       The prohibitions imposed by Section 5-117.1 are broad. On the seller’s end, a dealer (or

other person) may not “sell, rent or transfer” a handgun to a person who lacks a Handgun License,

while a purchaser (or other person) may “purchase, rent or receive a handgun only” if they have a

Handgun License or fall within one of the exceptions. Section 5-117.1(b), (c). Neither “transfer”

nor “receive” is defined as used in subsections 5-117.1(b) and (c), respectively. Enforcement of

Section 5-117.1 is under Md. Code Public Safety § 5-144. Neither “transfer” nor “receipt” is

defined in Section 5-144(a), which criminalizes “participation” in a “receipt” or a “transfer” that

is in violation of Section 5-117.1.



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          Argument in support of Plaintiffs’ Cross-motion for Summary Judgment

        A.        The Handgun License requirement violates the Second Amendment.

        Maryland’s Handgun License requirement violates Marylanders’ fundamental right to

acquire a handgun in the home for self-defense. Heller, 554 U.S. at 628–29; McDonald v. Chi.,

561 U.S. 742, 750 (2010); see also Teixeira v. Cty. of Alameda, 873 F.3d 670, 677 (9th Cir. 2017)

(en banc) (“As with purchasing ammunition and maintaining proficiency in firearms use, the core

Second Amendment right to keep and bear arms for self-defense wouldn’t mean much without the

ability to acquire arms.”) (quotation omitted, collecting cases), cert. denied, 138 S. Ct. 1988

(2018). The Handgun License requirement is unconstitutional per se under Heller’s holding and

analysis. It is also independently unconstitutional under the two-part analysis employed by the

Fourth Circuit.

                  1.    The Handgun License requirement is unconstitutional per se under the
                        text, history, and tradition standard of Heller because it bans handgun
                        acquisition.

        Handgun bans are unconstitutional per se. Heller, 554 U.S. at 635. In Heller, the Supreme

Court struck down as unconstitutional a handgun ban, and in doing so engaged in an extensive

text, history, and tradition analysis that established a process for determining whether a challenged

law offends the Second Amendment. See id. at 576–625. The Court established that a ban of a

category of firearms that are commonly possessed by law-abiding citizens (i.e., handguns) is so

clearly unconstitutional that the Court need not resort to applying any further standard of review.

Id. at 636. Because there is no textual or historical support for a handgun ban, it is a policy choice

that is simply “off the table,” and is unconstitutional per se. Id.

        Heller precludes interest-balancing of “future legislatures or [ ] even future judges.” Id. at

634–35 (declining to adopt either Justice Breyer’s explicit interest-balancing inquiry or the

enhanced intermediate or strict scrutiny often applied in the First Amendment arena). The Court


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held that such interest-balancing is inappropriate because the Second Amendment was “the very

product of interest balancing” at the time of its enactment, and the right of law-abiding, responsible

citizens to use arms is elevated above all other interests. Heller, 554 U.S. at 635 (emphasis in

original).5 Consistent with this approach, the Court struck down a handgun ban notwithstanding

evidence that handgun violence presents a serious problem in the United States. Heller, 554 U.S.

at 634–35.

        The Supreme Court’s subsequent McDonald and Caetano decisions that affirmed Heller’s

text, history, and tradition standard is the only proper analysis for evaluating the constitutionality

of bans like the Handgun License requirement. McDonald, 561 U.S. at 790–91 (rejecting the

notion that judges will be forced to make difficult empirical judgments because doing so is

precluded by the Court’s holding and analysis in Heller); Caetano v. Mass., 136 S. Ct. 1027, 1027–

28 (2016) (vacating and remanding where state supreme court failed to apply Heller’s reasoning

and analysis to a stun gun ban). In both cases, the Supreme Court stayed true to Heller’s text,

history, and tradition analysis and chose not to engage in any form of interest balancing. Taken

together, Heller, McDonald, and Caetano are unequivocal. The only analysis for a handgun ban is

Heller’s text, history, and tradition approach, which demonstrates that such a ban is

unconstitutional per se.

        Maryland bans its law-abiding citizens from acquiring handguns unless they first obtain a

Handgun License. Section 5-117.1’s plain language makes clear that this is a ban, prohibiting with

narrow exception all Marylanders from “purchas[ing], rent[ing], or receiv[ing] a handgun” unless

they “possess[] a valid handgun qualification license issued to the person by the Secretary in


5
  Like the Second Amendment, several other individual rights are subject to “categorical constitutional guarantees”
rather than open-ended balancing tests. See Heller v. D. C., 670 F.3d 1244, 1283 (D.C. Cir. 2011) (“Heller II”)
(Kavanaugh, J., dissenting) (citing Crawford v. Washington, 541 U.S. 36, 67–68 (2004) (recognizing a categorical
constitutional guarantee under the Sixth Amendment for the accused to be confronted with the witness against him)).


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accordance with this section.” Section 5-117.1(c). Maryland added to its already-effective 77R

Handgun Registration requirement the complex and burdensome requirements of the Handgun

License application that impose an additional delay of 30 days or more upon a law-abiding citizen

seeking to acquire a handgun. Burdening the acquisition of a handgun with an unnecessary

regulatory scheme is a ban plain and simple. Under Heller, the inquiry ends here and the Handgun

License requirement cannot stand.

                2.      The Handgun License requirement is a pretext to reduce the exercise
                        of a constitutional right.

        Defendants’ purported interest (public safety) is a disingenuous pretext for preventing law-

abiding Marylanders from acquiring and possessing handguns, which is plainly improper.

Maryland enacted the Handgun License requirement to “intimidate” the citizens of Maryland from

acquiring a handgun as part of a restrictive licensing scheme designed to impede handgun

purchases. Webster Dep., Ex. 5, at 30:1–33:16; see also J. Johnson Dep., Ex. 7, at 24:14–25:3.

Second Amendment jurisprudence makes clear that this is unconstitutional. State v. Reid, 1 Ala.

612, 616–617 (1840) (“A statute which, under the pretense of regulating, amounts to a destruction

of the right . . . [is] clearly unconstitutional.”) (cited in e.g., Heller, 554 U.S. at 629).

        The Supreme Court stated in Saenz v. Roe, 526 U.S. 489 (1999), that “[i]f a law has ‘no

other purpose . . . than to chill the assertion of constitutional rights by penalizing those who choose

to exercise them, then it [is] patently unconstitutional.’” Id. at 499 n.11 (quoting United States v.

Jackson, 390 U.S. 570, 581 (1968) (brackets and ellipsis the Court’s)); see also Murdock v. Com.

of Pa., 319 U.S. 110–11 (1943) (the state may not enact a law for the purpose of reducing the

exercise of a constitutional right). Nor may a state suppress adverse secondary effects of a

constitutional right by suppressing the right itself. See, e.g., City of L.A. v. Alameda Books, Inc.,




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535 U.S. 425, 449–50 (2002) (“It is no trick to reduce secondary effects by reducing speech or its

audience; but [the government] may not attack secondary effects indirectly by attacking speech”).

       This principle applies with equal force in the Second Amendment context. For instance, in

Heller v. District of Columbia, 801 F.3d 264 (D.C. Cir. 2015) (“Heller III”), the United States

Court of Appeals for the District of Columbia Circuit struck down the District’s ban on registering

more than one pistol per month. Id. at 280. The District defended that ban as designed to “promote

public safety by limiting the number of guns in circulation,” based on its theory “that more guns

lead to more gun theft, more gun accidents, more gun suicides, and more gun crimes.” Id. But the

court rejected that defense because “taken to its logical conclusion, that reasoning would justify a

total ban on firearms kept in the home.” Id.; see also Grace v. Dist. of Columbia, 187 F. Supp. 3d

124, 148 (D.D.C. 2016), aff’d sub nom. Wrenn v. Dist. of Columbia, 864 F.3d 650 (D.C. Cir. 2017)

(“it is not a permissible strategy to reduce the alleged negative effects of a constitutionally

protected right by simply reducing the number of people exercising the right” (quotation marks

omitted)).

       The Handgun License statute made clear its goal was to reduce Marylanders’ exercise of

their Second Amendment constitutional rights. See Firearm Safety Act, 2013 Maryland Laws Ch.

427 (S.B. 281) (Handgun License requirement implemented “For the purpose of . . . prohibiting a

certain person from . . . purchasing . . . a certain regulated firearm unless the person presents or

possesses a certain handgun qualification license issued by the Secretary or certain credentials or

identification.”); see also J. Joseph Curran, A Farewell To Arms The Solution to Gun Violence in

America, at 6, 63 (Oct. 20, 1999) (Maryland has long had the stated “goal” of “eliminat[ing]

widespread handgun ownership through restrictive handgun licensing.”). Maryland enacted the

Handgun License with no evidence that it was necessary, and Defendants have not even bothered




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to determine if Maryland’s public safety has improved. The Handgun License is intended to

intimidate Marylanders from exercising their constitutional rights, see Webster Dep., Ex. 5, at

30:1–33:16, and it has indisputably had this effect. Defendants’ interests are pretextual, and the

Handgun License fails any level of scrutiny for this reason alone.

       For example, Defendants claim that fingerprints could be used to identify Handgun License

holders who subsequently become disqualified from possessing a firearm, but the Maryland State

Police does not actually do this. A. Johnson Dep., Ex. 6, at 136:11–16. The undisputed facts

demonstrate that this interest is a pretext to further burden and deter law-abiding Marylanders from

acquiring a handgun.

       Similarly, Defendants concede that they do not monitor, control, or govern the Handgun

License safety course’s content. E.g., id., at 66:21–68:21. Defendants instead allow individual

Handgun License instructors to create their own curricula, allowing for substantial variation

between courses. Russell Dep., Ex. 8, at 67:18–68:2, 69:18–71:8. The exceptions to the safety

course with live-fire requirement further illustrate the pretextual nature of Defendants’ claimed

interests. For example, those who move to Maryland are required to register their handgun within

90 days of establishing residency, but are not required to take any safety course. Md. Code Ann.,

Pub. Safety § 5-143(a). Likewise, applicants with a hunting license from any jurisdiction are

exempted from the live-fire requirement, without regard to whether the hunting training involved

live-fire of a handgun. A. Johnson Dep., Ex. 6, at 68:17–21. Defendants concede that this

requirement is specious at best because “firing one round is not adequate.” A. Johnson Dep., Ex.

6, at 52:9–53:2; see also Pennak Decl., Ex. 2, at ¶¶ 7–19. This requirement is designed to erect a

barrier to access for those living in urban areas like Baltimore City where no ranges can be found

or reached by mass transportation. The undisputed facts demonstrate that the Handgun License




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and its requirements are a pretext to further burden and thus discourage law-abiding Marylanders

from acquiring a handgun.

               3.      The Handgun License requirement is unconstitutional under the two-
                       part approach used by the Fourth Circuit.

       The Handgun License requirement is also independently unconstitutional under the two-

part analysis employed by the Fourth Circuit. United States v. Chester, 628 F.3d 673, 680 (4th Cir.

2010); see also Kolbe v. Hogan, 849 F.3d 114, 132 (4th Cir. 2017) (en banc), cert denied, 138 S.

Ct. 469 (2017). Under this analysis, a court must first determine whether the challenged law

burdens conduct protected by the Second Amendment as it was historically understood. Chester,

628 F.3d at 680. If it does, the court must then apply “an appropriate form of means-end scrutiny.”

Id. The Handgun License burdens conduct within the Second Amendment’s guarantee. Strict

scrutiny is the only appropriate level of scrutiny because the Handgun License burdens the Second

Amendment’s core right. And the Handgun License requirement cannot survive strict scrutiny

because it is not the least restrictive alternative to achieve a compelling interest.

                    a. The Handgun License requirement burdens conduct within the scope
                       of the Second Amendment’s guarantee.

       The Handgun License requirement satisfies the first part of the two-part analysis because

it burdens conduct that comes within the scope of the Second Amendment as it was historically

understood. On this there can be no dispute. Heller is clear: “Whatever else [the Second

Amendment] leaves to future evaluation, it surely elevates above all other interests the right of

law-abiding, responsible citizens to use arms in defense of hearth and home.” Heller, 554 U.S. at

635. The Handgun License requirement burdens precisely this right and thus falls squarely within

the scope of the Second Amendment.

       The Handgun License requirement is not presumptively constitutional. It does not fit within

the longstanding regulations noted in Heller. Id. at 626–27 n.26 (noting as “presumptively


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constitutional lawful regulatory measures” such as “longstanding prohibitions on the possession

of firearms by felons and the mentally ill . . . or laws imposing conditions and qualifications on

the commercial sale of arms”). The Handgun License requirement affects law-abiding and

responsible citizens and is not a longstanding prohibition or condition on the commercial sale of

arms. Nothing in the Second Amendment’s language, history, jurisprudence, or commentary

suggests that it is. Both courts to address government-imposed delays on handgun acquisition

agree. In Silvester v. Harris, 41 F. Supp. 3d 927, 962 (E.D. Cal. 2014), the United States District

Court for the Eastern District of California stated that “in terms of Heller’s longstanding

presumptively lawful regulations, Defendant has not established that the 10-day waiting period is

a presumptively lawful longstanding regulatory measure that imposes a condition and qualification

on the commercial sale of a firearm.” The United States Court of Appeals for the Ninth Circuit

confirmed this, finding that historical “[d]elays of a week or more were not the product of

governmental regulations, but such delays had to be routinely accepted as part of doing business.”

Silvester v. Harris, 843 F.3d 816, 827 (9th Cir. 2016), cert. denied, 138 S. Ct. 945 (2018).

       Because the Handgun License requirement burdens conduct well-within the scope of the

Second Amendment and is not presumptively constitutional, the Court must progress to the second

part of the analysis and determine the level of heightened scrutiny to apply in reviewing the

Handgun License requirement.

                   b. Strict scrutiny is necessary because the Handgun License requirement
                      severely burdens the Second Amendment’s core right.

       Should the Court engage in a means-end analysis, Fourth Circuit precedent requires strict

scrutiny. From the time that it adopted the two-part analysis in Chester, the Fourth Circuit has

stated repeatedly that if a challenged law implicates the core right of a law-abiding, responsible

citizen to possess a firearm in his or her home, the law is subject to a strict scrutiny analysis. For



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instance, in Chester, the defendant, a misdemeanant, unsuccessfully moved to dismiss his

indictment on the grounds that the Supreme Court had identified only the mentally ill and felons

as classes of persons that could be denied the right to possess firearms. Chester, 628 F.3d at 673.

The Fourth Circuit declined to apply strict scrutiny to the prohibition on ownership of firearms by

misdemeanants, explaining:

        Although Chester asserts his right to possess a firearm in his home for the purpose
        of self-defense, we believe his claim is not within the core right identified in Heller
        – the right of a law-abiding, responsible citizen to possess and carry a weapon for
        self-defense – by virtue of Chester’s criminal history as a domestic violence
        misdemeanant. Accordingly, we conclude that intermediate scrutiny is more
        appropriate than strict scrutiny for Chester and similarly situated persons.

Id. at 682–83 (emphasis in original).

        The undisputed facts demonstrate that Plaintiffs possess the critical characteristic lacking

in defendant Chester: they are law-abiding, responsible citizens who seek to acquire a handgun for

self-defense in the home. They do not fall into any less-protected category, and a ban on their

ability to acquire a handgun for self-defense in their home is subject to strict scrutiny.

        Subsequently, the Fourth Circuit opined that a ban on possession of firearms in the home

is subject to strict scrutiny: “As we observe that any law regulating the content of speech is subject

to strict scrutiny, . . . we assume that any law that would burden the ‘fundamental,’ core right of

self-defense in the home by a law-abiding citizen would be subject to strict scrutiny.” United States

v. Masciandaro, 638 F.3d 458, 470 (4th Cir. 2011); see also United States v. Carter, 669 F.3d 411,

416 (4th Cir. 2012) (“[W]e have noted that the application of strict scrutiny is important to protect

the core right of self-defense identified in Heller[.]”). The court in Woollard v. Gallagher, 712

F.3d 865 (4th Cir. 2013) agreed, adding that intermediate scrutiny applies to bearing arms outside

the home, rejecting the view that would “place the right to arm oneself in public on equal footing

with the right to arm oneself at home, necessitating that we apply strict scrutiny . . .” Id. at 878. In



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Kolbe, 849 F.3d at 138, the court applied intermediate scrutiny rather than strict scrutiny because

the challenged law left “citizens free to protect themselves with . . . most importantly – handguns.”

Thus, applicable Fourth Circuit law mandates that strict scrutiny is the proper standard of review

when a law like the Handgun License requirement infringes on the right of a law-abiding,

responsible citizen “to arm oneself at the home.” Woollard, 712 F.3d at 878.

                    c. Defendants cannot meet their burden under strict scrutiny because the
                       Handgun License requirement is not the least restrictive alternative to
                       achieve a compelling interest.

        To satisfy strict scrutiny, Defendants must establish that the challenged laws are narrowly

tailored to promote a compelling government interest. Centro Tepeyac v. Montgomery Cty., 722

F.3d 184, 189 (4th Cir. 2013). To be narrowly tailored, the law must employ the least restrictive

means to achieve the interest. See United States v. Playboy Entm’t. Grp., Inc., 529 U.S. 803, 813

(2000); see also Sons of Confederate Veterans, ex rel. Griffin v. Comm’r of the Va. Dept. of Motor

Vehicles, 288 F.3d 610, 626 (4th Cir. 2002). Thus, “[i]f a less restrictive alternative would serve

the Government’s purpose, the legislature must use that alternative.” Playboy Entm’t Grp., 529

U.S. at 813. Defendants do not have a legitimate interest in discouraging the exercise of the right

itself, so the only conceivable interest is to protect public safety and deter crime. The Handgun

License requirement does neither. It certainly is not the “least restrictive” means of achieving those

goals. Rather, the Handgun License requirement imposes redundant and unnecessary burdens, over

and above the existing 77R Handgun Registration process, on law-abiding Marylanders’

constitutional right to acquire a handgun. It necessarily fails strict scrutiny.

                        1. The additional 30-day delay is not the least restrictive alternative to
                           achieve a compelling interest.

        Maryland allows Defendants up to 30 days to approve or deny a Handgun License

application (in addition to the time it takes to complete a Handgun License application and




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subsequent 77R Handgun Registration process), explicitly banning law-abiding Marylanders from

exercising their Second Amendment right to acquire a handgun during this period. Defendants

have not articulated any interest this delay achieves, though it is presumably to ease Defendants’

administrative burden in reviewing Handgun License applications. Defendants’ administrative

burden is not a compelling interest. See Chester, 628 F.3d at 692 (noting that “Section 922(g)(9)

is not merely intended to accomplish bureaucratic shortcuts or administrative convenience”)

(Davis, J., concurring); Bonidy v. U.S. Postal Serv., 790 F.3d 1121, 1127 (10th Cir. 2015) (“Of

course, administrative convenience and economic cost-saving are not, by themselves, conclusive

justifications for burdening a constitutional right under intermediate scrutiny.”); Heller III, 801

F.3d at 287 (Henderson, J., concurring in part and dissenting in part) (same). The undisputed fact

that Defendants processed 77R Handgun Registration applications within seven business days

prior to the Handgun License requirement, and still do every time a licensee purchases a handgun,

demonstrates that the Handgun License cannot be the least restrictive means to achieve whatever

Defendants’ unidentified interest may be.

                      2. The fingerprint requirement is not the least restrictive alternative
                         to achieve a compelling interest.

       Defendants claim the fingerprint requirement allows them to positively identify Handgun

License applicants, allowing them to “mak[e] it more difficult for a prohibited person to obtain

access to a firearm.” Col. Pallozzi Interrog. Resp., Ex. 20, No. 20; A. Johnson Dep., Ex. 6, at

111:19–112:7. Defendants also claim that the fingerprint requirement allows them to disarm those

who become prohibited after legally purchasing a handgun. See A. Johnson Dep., Ex. 6, at 40:1–

3, 65:7–13.

       But Defendants admit that the 77R Handgun Registration requirement already allowed

Defendants to accomplish this interest. Maryland State Police’s corporate designee testified that:



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        Q: Under the 77R process then and now individual purchasers of handguns are
        checked to see whether or not they are legally able to possess a handgun; correct?

        A. Yes.

        Q. And if they are legally able to possess a handgun under the 77R process,
        presumably they would also pass the [Handgun License] application process and
        obtain a[] [Handgun License]; correct?

        A. Yes.

A. Johnson Dep., Ex. 6, at 116:1–11; see also Webster Dep., Ex. 5, at 38:9–39:3 (Handgun License

background check is “not materially different” from subsequent 77R background check).

Defendants positively identified with certainty all 77R Handgun Registration applicants without

requiring fingerprints. Id.

        Further, Defendants admit that the 77R Handgun Registration process already allowed

them to locate and disarm handgun owners who were subsequently disqualified from handgun

ownership. Professor Webster testified:

        Q: . . . When I purchase a handgun in Maryland, it’s registered with the Maryland
        State Police; am I correct?

        A. That’s correct.

        Q. And the Maryland State Police has a registry of handgun ownership such that, if
        I were to be convicted of a disqualifying offense, they could readily look me up,
        determine if I owned a handgun, and dispossess me of that handgun; correct?

        A. That’s correct.

Webster Dep., Ex. 5, at 19:14–20:3. Professor Webster confirmed that Defendants have “always

been able to do that.” See id. at 20:4–14. Because the 77R Handgun Requirement was less

restrictive and accomplished Defendants’ interest, the Handgun License’s fingerprint requirement

is necessarily not the least restrictive alternative.




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                       3. The classroom training with live-fire requirement is not the least
                          restrictive alternative to achieve a compelling interest.

       The safety course required under the Handgun License requirement is not the least

restrictive means to achieve Defendants’ interest because it is, at best, redundant of the training

course required under the 77R Handgun Registration process. The safety courses’ curricula are

substantively identical. Compare Md. Code Ann., Pub. Safety § 5-117.1(d) with Ex. 9. Defendants

cannot dispute this fact because they concede that they do not control or even have the ability to

monitor the content of the safety course’s instruction. E.g., A. Johnson Dep., Ex. 6, at 66:21–68:21.

Further, by exempting those who happen to “lawfully own a [handgun]” before the Handgun

License went into effect, Section 5-117.1(e)(6), Defendants tacitly admit that the 77R Handgun

Registration’s safety course already achieved Defendants’ interest because these individuals

watched only the 77R Handgun Registration video safety presentation. Because the 77R Handgun

Requirement was less restrictive and accomplished Defendants’ interest, the Handgun License’s

safety course with live-fire requirement is necessarily not the least restrictive alternative.

       B.      The Handgun License requirement violates the Due Process Clause of the
               Fourteenth Amendment.

       Plaintiffs establish in Plaintiffs’ Opposition to Defendants’ Cross Motion at pages 57–63

below, incorporated herein by reference, the words “receipt” and “receive” as used in the Handgun

License requirement do not give “fair notice of the conduct it punishes,” and are “so standardless

that it invites arbitrary enforcement” within the meaning of Johnson v. United States, 135 S. Ct.

2551, 2556 (2015). “The Government violates [the due process] guarantee by taking away

someone’s life, liberty, or property under a criminal law so vague that it fails to give ordinary

people fair notice of the conduct it punishes, or so standardless that it invites arbitrary

enforcement.” Id.




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       C.      The Maryland State Police acted ultra vires in implementing the Handgun
               License regulations.

       Plaintiffs establish in Plaintiffs’ Opposition to Defendants’ Cross Motion at pages 63–68

below, incorporated herein by reference, the Maryland State Police acted ultra vires in

implementing the Handgun License regulations. Although the Handgun License requirement

provides that “[t]he Secretary may adopt regulations to carry out the provisions of this section,” §

5-117.1(n), it does not allow the Maryland State Police to add new “provisions,” such as the live-

fire requirement, by requiring all Handgun License instructors to obtain “a qualified handgun

license issued by the Secretary,” and by requiring the applicant, not the Secretary, to submit

fingerprints to the Central Repository.




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             Argument in Opposition to Defendants’ Motion for Summary Judgment

        A.       Plaintiffs have standing to challenge the Handgun License requirement.

        This suit is properly before this Court even if only one of the Plaintiffs has standing. Kolbe

v. O’Malley, 42 F. Supp. 3d 768, 775 (D. Md. 2014) (“As Kolbe and Turner have standing,

jurisdiction is secure, and the court may adjudicate this dispute whether or not the additional

plaintiffs have standing.”), aff’d on other grounds, 813 F.3d 160 (4th Cir. 2016); see also Clinton

v. City of N.Y., 524 U.S. 417, 431 n. 19 (1998); Bowsher v. Synar, 478 U.S. 714, 721 (1986)

(holding that when one party has standing to bring a claim, the same claims brought by other

parties to the same lawsuit are justiciable). Each Plaintiff has independent standing to bring this

lawsuit, and this suit is properly before the Court in its entirety even if the Court finds that only

one has standing.

                 1.     Maryland Shall Issue has standing, as do the individual Plaintiffs.

        MSI has standing to bring this suit under two independent principles: (1) organizational

standing and (2) representative standing. As explained in The Equal Rights Center v. Abercrombie

& Fitch Co., 767 F. Supp. 2d 510 (D. Md. 2010), “organizational standing[] permits a group to

allege standing on its own behalf for injuries directly inflicted upon the organization.” Id. at 518

(citing Warth v. Seldin, 422 U.S. 490, 511 (1975)). An organization has standing to sue on its own

behalf where it satisfies the three elements of Article III standing: (1) “the plaintiff . . . suffered an

injury in fact – an invasion of a legally protected interest which is (a) concrete and particularized,

and (b) actual or imminent, not conjectural or hypothetical”; (2) “there [is] a causal connection

between the injury and the conduct complained of”; and (3) “it [is] likely, as opposed to merely

speculative, that the injury will be redressed by a favorable decision.” Lujan v. Defs. of Wildlife,

504 U.S. 555, 560–61 (1992) (citations and internal quotation marks omitted).




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       The first element (the injury in fact requirement) is satisfied where the challenged actions

have worked to “frustrate” achievement of the organization’s purposes and objectives. Havens

Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982) (explaining that a “concrete and demonstrable

injury to the organization’s activities – with the consequent drain on the organization’s resources

– constitutes far more than simply a setback to the organization’s abstract social interests”). Under

this test, “[a]n organization may suffer an injury in fact when a defendant’s actions impede its

efforts to carry out its mission.” Lane v. Holder, 703 F.3d 668, 674 (4th Cir. 2012).

       MSI satisfies this test because MSI’s mission is to “endorse[], promote[] and encourage[]

law-abiding adults . . . to acquire and to become proficient in the use of handguns for lawful self-

defense purposes,” Pennak Decl., Ex. 2, at ¶¶ 2, 6, and the Handgun License requirement impedes

these purposes by making it much more difficult for law-abiding adults to acquire handguns. It

also requires “legal action to defend the constitutional rights of MSI members to acquire

handguns[,] [which] consumes valuable resources of MSI, including time and money.” Id. MSI

also vigorously opposed enactment of this legislation and the Maryland State Police regulations

and instituted this case in furtherance of that opposition so as “to defend the constitutional rights

of MSI members to acquire handguns.” Id., at ¶¶ 2, 5-6. City of Chi. v. Matchmaker Real Estate

Sales Ctr., Inc., 982 F.2d 1086, 1095 (7th Cir. 1992) (conferring standing upon City of Chicago

who initiated suit as an advocate for its residents). Moreover, the Handgun License requirement

has “adversely impacted the ability of MSI to attract new members, as MSI membership is largely

composed of individuals who have or seek to have handguns in the home for lawful self-defense.”

Pennak Decl., Ex. 2, at ¶¶ 2, 6. Contrary to Defendants’ assertion, Defendants’ Memorandum in

Support of Motion for Summary Judgment (“Defs. Mem.”), at p. 14, MSI’s membership did in




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fact decrease as a result of the enactment of the Handgun License requirement. Pennak Decl., Ex.

2, at ¶ 6. These adverse impacts are present and ongoing and thus are not remotely conjectural.

         The causal connection and redressability between this injury to MSI and matters

complained of in this suit are also direct and immediate. The burdens imposed by the Handgun

License would be redressed by the declaratory and injunctive relief requested. This relief would

affect MSI directly because MSI’s membership grows and prospers by the exercise of these rights

by law abiding citizens. See Pennak Dep., Ex. 17, at 45:1–11. MSI also has standing to assert the

vagueness claim because MSI’s mission includes education and instruction concerning firearms

and MSI has many members, including the President of MSI, who actually perform instruction in

furtherance of MSI’s mission. See Pennak Decl., Ex. 2, at ¶¶ 1-3. All these instructors, as well as

other MSI members, “have been burdened and are deterred by the vague provisions of the HQL

from temporarily loaning handguns to others.” Id. at ¶ 3.

         MSI also has representative standing to sue on behalf of its members because its members

would individually have standing to sue on all the claims brought in this case. MSI’s membership

includes each of the individual Plaintiffs in this case as well as numerous other individuals who

do not have a Handgun License and are thus subject to the Handgun License application’s burdens

and obstacles. The individual Plaintiffs, as well as MSI’s other members, wish to purchase a

handgun without a Handgun License. These individuals satisfy each of the familiar elements of

Article III standing, viz., injury-in-fact, causation and redressability. See Havens, 455 U.S. at 378

(1982) (“In determining whether [an organizational plaintiff] has standing under the Fair Housing

Act, we conduct the same inquiry as in the case of an individual.”).6


6
 Defendants mistakenly rely on Maryland Highways Contractors Association, Inc. v. Maryland, 933 F.2d 1246, 1250
(4th Cir. 1991). In that case, the court held that the association had failed to prove its allegation that its members “had
been injured in their business or property.” The standing of MSI and MSI’s members here are not based on such



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        Defendants argue incorrectly that Plaintiffs must have applied for and been denied a

Handgun License. Defs. Mem., at pp. 12 (citing United States v. Decastro, 682 F.3d 160 (2d Cir.

2012)). It is well-settled that “[t]he Constitution can hardly be thought to deny to one subjected to

the restraints of [a licensing law] the right to attack its constitutionality, because he has not yielded

to its demands.’” Shuttlesworth v. City of Birmingham, Ala., 394 U.S. 147, 151 (1969); see also,

e.g., Lovell v. City of Griffin, Ga., 303 U.S. 444, 452 (1938) (“As the ordinance is void on its face,

it was not necessary for appellant to seek a permit under it”).

        This principle has strong application in Second Amendment challenges to laws that

preclude a person from acquiring a firearm. For example, in Dearth v. Holder, 641 F.3d 499 (D.C.

Cir. 2011), the D.C. Circuit sustained the plaintiff’s standing to challenge “a regulatory scheme”

that impaired his ability to obtain a firearm. In so holding, the court expressly rejected the same

argument made by Defendants here, explaining that the plaintiff “does not claim he has a right to

be issued a ‘permit’ or ‘license’ by the Government” and that “the right to possess, not the right to

a permit or license, was the substance of their claim.” Id. at 501. Here, as in Dearth, plaintiffs

“raise[] a constitutional challenge to the regulatory and ‘statutory classifications’ that bar

[plaintiffs] from acquiring a firearm” and thus do not have to apply for a permit that they do not

want. Id.; see also A.N.S.W.E.R. Coal. v. Salazar, 915 F. Supp. 2d 93, 103 (D.D.C. 2013) (holding

that “[a] permit denial, however, is not a prerequisite to establish standing” to challenge the very

regulation that restricted access to the areas in which plaintiffs wished to protest). Second Circuit

law is in accord. See, e.g., Prayze FM v. FCC, 214 F.3d 245, 251 (2d Cir. 2000) (holding that facial

challenges do not require an application). Plaintiffs here want to purchase a handgun without a



injuries to “business or property” but on the burdens placed on the exercise of their constitutional rights by the
Handgun License requirements. Pennak Decl., Ex. 2, at ¶ 3. See N.Y.Civil Liberties Union v. Grandeau, 528 F.3d 122,
131 (2d Cir. 2008) (“administrative burdens” on constitutional rights sufficient to establish Art. III standing).


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Handgun License and are barred from doing so. See Dearth, 641 F.3d at 501 (“We agree with

Dearth that the Government has denied him the ability to purchase a firearm and he thereby suffers

an ongoing injury.”).

        The individual Plaintiffs also have standing to challenge facially the Handgun License

requirement on vagueness grounds. The Supreme Court has repeatedly instructed that standing

does “not require a plaintiff to expose himself to liability before bringing suit to challenge the basis

for the threat – for example, the constitutionality of a law threatened to be enforced.” MedImmune,

Inc. v. Genentech, Inc., 549 U.S. 118, 128–29 (2007) (collecting cases). Here, for example, Ms.

Miller is married to a person who has a handgun. See Miller Dep., Ex. 4, at 16:10–21. Under

Section 5-144, both Mrs. Miller and her husband are at risk of arbitrary and discriminatory

enforcement of the vague provisions at issue simply because they have “participated” in Mrs.

Miller’s “receipt” of a handgun in the home or on the range when she did not possess a Handgun

License within the meaning of Section 5-117.1(c) and Section 5-144(a). Ms. Miller testified that

she is in fear of precisely this sort of prosecution. Miller Dep., Ex. 4, at 19:5–10, 38:1–40:13. MSI

members also include persons who are instructors as well as others who are lawful owners of

handguns. Pennak Decl., Ex. 2, at ¶ 3. The vague language of Section 5-117.1(c), which allows

only a person who has a Handgun License to “receive” a handgun, places every one of those

individuals at risk of arbitrary or discriminatory enforcement of Section 5-117.1(c) should they

allow any person who does not have a Handgun License to “receive” a handgun. Id.

        Defendants’ standing argument fails even as to “as applied” challenges. Decastro, on

which Defendants rely, acknowledges that in “as applied” challenges, it is not necessary to actually

apply where such an application would be “futile.” Decastro, 682 F.3d at 164. Here, applying for

a Handgun License would be “futile” for at least one MSI member, Dana Hoffman, a 75 year old




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woman who lives alone in Takoma Park, MD. Hoffman Dep., Ex. 16, at 8:1–14:3. Ms. Hoffman

suffers from a documented medical condition, hyperacusis, which is a severe sensitivity to sound.

See The Hyperacusis Network, What is Hyperacusis, http://www.hyperacusis.net/what-is-it/.

Because of that condition, Ms. Hoffman “can’t go to a class and be in a room with a bunch of other

people learning about gun safety, and also can’t go to a firing range and fire a gun.” Hoffman Dep.,

Ex. 16, at 22:16–23:5. Without “proof” of the required training and a training “certification”

expressly required by Section 5.117.1(g), Ms. Hoffman’s application would be automatically

rejected. MSI has associational standing to bring this claim on Ms. Hoffman’s behalf. NRA, Inc.

v. ATF, 700 F.3d 185, 191 (5th Cir. 2012), cert. denied, 571 U.S. 1196 (2014).

       Defendants make light of Ms. Hoffman’s life-altering medical disability, stating in a

footnote that Ms. Hoffman should have contacted the Maryland State Police and asked for an

accommodation to use “quieter alternative ammunition.” Defs. Mem., at p. 14 n.4. The Handgun

License requirement contains no such exceptions to the required training. Further, to a person

suffering from hyperacusis, there is nothing remotely “quiet” about the discharge of live

ammunition in any form, much less on a range where other shooters may also be firing. Firing

ranges are very loud. An individual plaintiff, Deborah Miller, also has a physical disability that

would make it very difficult to sit through four hours of classroom training, thereby making it

futile for her to apply. Miller Dep., Ex. 4, at 33:1–34:17 (“I have back issues [disc] so sitting still

for four hours would be a burden on me.”).

       Other members of MSI have testified that it was far too burdensome and expensive for

them to attend the classes and spend the money necessary to obtain a Handgun License. See

Deposition of Scott Miller (“S. Miller Dep.”), Ex. 25, at 24:4–25:11 (as an EMT in Washington,

D.C., he works 10 hour shifts and “really long nights” and that he is in school and his time is




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consumed with “other necessary tasks.”); Deposition of John Clark (“Clark Dep.”), Ex. 26, at

14:22–19:15 (testifying that the fees and fingerprinting deterred him from applying for a Handgun

License because there were no fingerprint services offered in Carroll County where he lives and

that he wanted to buy a better gun for home defense). Attempting to minimize those injuries,

Defendants acknowledge these harms, Defs. Mem., at p. 13, but contend that that all these

individuals, including the 75-year-old Ms. Hoffman, have sufficient money to pay all the expenses

associated with obtaining a Handgun License and thus completely lack standing to sue in this case.

       But these individuals’ ability to shoulder these burdens is beside the point for purposes of

standing. See Warth, 422 U.S. at 500 (noting “standing in no way depends on the merits of the

plaintiff’s contention that particular conduct is illegal”); White Tail Park v. Strouble, 413 F.3d 451,

460 (4th Cir. 2005) (“The standing doctrine, of course, depends not upon the merits”). A person

who is being required to pay money most certainly has standing to complain that the money is

being illegally extracted. See, e.g., Danvers Motor Co., Inc. v. Ford Motor Co., 432 F.3d 286, 292–

93 (3d Cir. 2005) (noting that “[t]here can be no doubt that this financial harm counts as injury-in-

fact”). Here, these individuals are all directly injured by the need to spend any funds, time and or

other resources to obtain a Handgun License and thus all have standing.

       Defendants also mistakenly rely on Lane as support for their assertion that an individual

lacks standing to challenge “minor inconveniences.” Defs. Mem., at p. 12. First, the burdens

inflicted by Section 5-117.1 and its regulations cannot be dismissed as mere “minor

inconveniences.” See above on pages 13-16. Second, nothing in Lane actually stands for that

proposition. In Lane, the plaintiffs had asserted that they were harmed because out-of-state dealers

(third parties) were barred from selling a handgun to plaintiffs due to the federal law at issue there.

In addressing this claim, the court acknowledged that “[c]onsumers burdened by regulation of the




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sellers they transact with may be able to establish that they have suffered an injury in fact, as the

Supreme Court has made clear in the context of Commerce Clause litigation,” but held that in

those cases the plaintiffs had standing because they “were burdened directly” and the plaintiffs in

Lane were not directly burdened, for purposes of standing to bring a Second Amendment claim

against the federal law at issue, because they could legally purchase a handgun in their home state

of residence. Lane, 703 F.3d at 672–73. Here, unlike plaintiffs in Lane, the individual Plaintiffs

are not challenging a restriction placed on third parties, rather they are challenging statutory

requirements and regulations directed specifically at them. See Warth, 422 U.S. at 499. And, unlike

the plaintiffs in Lane, Plaintiffs here do not have the option of bypassing the Handgun License

requirement by buying handguns elsewhere, as federal law bans such out-of-state sales. See Mance

v. Sessions, 896 F.3d 699 (5th Cir. 2018).

       The individuals (and, by extension, MSI for purposes of associational standing) also easily

satisfy the rest of the standing requirements: causation and redressability. The Handgun License

requirement is the direct cause of plaintiffs’ injury because without those requirement plaintiffs

would be entitled to exercise their Second Amendment right to purchase a handgun. Striking down

those requirements, in whole or in part, would “redress” that injury directly because such an order

enjoining enforcement would mean that plaintiffs could exercise that right without the burden and

obstacles imposed by the Handgun License requirement. The same would hold true for the

vagueness claims, as an injunction barring enforcement of Section 5-117.1(c)’s ban on “receiving”

a handgun without a Handgun License would protect MSI members and the individual plaintiffs

who are chilled in the exercise of their Second Amendment right to “receive” or participate in the

“receipt” a handgun by the risk of arbitrary or discriminatory enforcement flowing from that vague

prohibition.




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       No more is required for MSI members to have standing and thus for MSI to have

associational standing. See Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2341–42 (2014);

Steffel v. Thompson, 415 U.S. 452, 480 (1974) (Rehnquist, J., concurring) (observing that

“declaratory judgment procedure is an alternative to pursuit of the arguably illegal activity”); Ellis

v. Dyson, 421 U.S. 426, 432 (1975) (noting that “in Steffel, we rejected the argument that bad-faith

prosecution, harassment, or other unique and extraordinary circumstances must be shown before

federal declaratory relief may be invoked against a genuine threat of state prosecution”). That fear

of arbitrary prosecution is genuine. See, e.g., Miller Dep., Ex. 4, at 19:5–22 (“Because of the new

law, I was concerned that if I used [my husband’s] gun it would be considered receiving the

handgun and that I could be prosecuted” because the law was “unclear”); Pennak Decl., Ex. 2, at

¶ 3 (“instructors, including myself, as well as other members of MSI, have been burdened and are

deterred by the vague provisions of Section 5-117.1 from temporarily loaning handguns to others,

including friends and family”). The prospect of such enforcement directly chills the exercise of

plaintiffs’ core fundamental right, recognized in Heller, to possess handguns for self-defense in

the home. No more is required. See, e.g, NRA v. Magaw, 132 F.3d 272, 279 (6th Cir. 1997) (“[P]re-

enforcement review is usually granted under the Declaratory Judgment Act when a statute imposes

costly, self-executing compliance burdens or if it chills protected activity.”) (quotation omitted).

               2.      Atlantic Guns has standing because its business has suffered from the
                       loss of handgun sales and its customers were delayed or denied from
                       acquiring a handgun due to the Handgun License requirement.

       Atlantic Guns has standing to bring this lawsuit. In addition to its standing based upon

injury through loss of handgun sales and related revenues, under General Motors Corp. v. Tracy,

519 U.S. 278 (1997), sellers have standing when their customers may be injured. Id. at 286; see

also, e.g., Carey v. Population Servs. Int’l, 431 U.S. 678, 682-84 (1977) (permitting contraceptive

distributors to assert the interests of their customers); Craig v. Boren, 429 U.S. 190, 192–97 (1976)


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(permitting beer vendors to assert the interests of their customers). This is no less true in Second

Amendment cases. Ezell v. City of Chi. Ill., 651 F.3d 684, 696 (7th Cir. 2011) (permitting firing

ranges to assert Second Amendment claims on behalf of their customers).

         Defendants challenge Atlantic Guns’ injury showing for purposes of standing solely

because it has not established that any reduction in handgun sales has been caused “exclusively by

the [Handgun License] requirement and not by anything else.” Defs. Mem., at p. 15 & Ex. 15. It

is enough for standing purposes that a plaintiff establish that the challenged law is a cause of its

injury, not the only cause. Sierra Club v. United States Dept. of the Int., 899 F.3d 260, 284 (4th

Cir. 2018) (“the causation element of standing does not require the challenged action to be the sole

or even immediate cause of the injury”) (collecting cases).

         As Defendants’ argument suggests, there is ample evidence showing Atlantic Guns’

handgun sales declined following the Handgun License requirement. Maryland State Police’s own

records demonstrate beyond dispute that the Handgun License requirement has severely impacted

Atlantic Guns’ business. Schneider Decl., Ex. 1, at ¶ 9 & Ex. A. That spreadsheet, produced by

Maryland State Police from its official records subsequent to Atlantic Guns’ corporate deposition,

sets forth the number of Atlantic Guns’ total annual handgun sales each year from 2000 to 2017.

Id. In the four years since the Handgun License took effect (2014–2017), Atlantic Guns has lost

approximately 20 percent of its average annual handgun sales compared to the four-year period

following the Handgun License requirement’s implementation (2009–2012).7 Id. Atlantic Guns’

gross revenues from handgun sales have also decreased by a similar amount over this same time.

Id. at ¶ 9 & Ex. B.



7
  Atlantic Guns’ handgun sales data for the year 2013 are not used in the comparison to avoid the distorting effects of
the sales increase following the Newtown shooting in mid-December 2012 and the run up to the Handgun License’s
effective date on October 1, 2013.


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       Similarly, Defendants claim that Atlantic Guns lacks standing to represent the interests of

its customers who have been denied handguns because of the Handgun License requirement solely

because it has not identified any such customer by name. Defs. Mem., at p. 15. Contrary to

Defendants’ suggestion, however, Atlantic Guns need not identify each such customer or even a

single customer by name. See Craig, 429 U.S. at 194–96 (vendor had standing to assert claims “of

males 18–20 years of age” without identifying individual males in this group); Carey v. Population

Servs., Int’l, 431 U.S. 678, 683–84 (1977) (distributor of contraceptive devices); Doe v. Bolton,

410 U.S. 179, 188 (1973) (physicians providing abortion services). It is enough that Atlantic Guns’

uncontroverted evidence established that it has turned away customers on a weekly basis because

they lacked a Handgun License, totaling hundreds of customers since the imposition of the

Handgun License requirement where acquisition of a handgun was delayed if not denied.

Schneider Decl., Ex. 1, at ¶ 8. Defendants do not challenge these facts.

       It simply is untrue, as Defendants claim, that Atlantic Guns “is free to continue selling

handguns to the same customers it had prior to the implementation of the [Handgun License

requirement].” Defs. Mem., at p. 15. Atlantic Guns is forbidden to do that by Section 5-117.1(b)

unless each of its customers obtains a Handgun License, and the uncontroverted evidence

demonstrates that many of Atlantic Guns’ customers are delayed or deterred from ever getting that

license.

       For these reasons, Atlantic Guns has standing to bring this lawsuit challenging all aspects

of the Handgun License requirement that injures it and its customers.

       B.       The Handgun License requirement violates the Second Amendment.

       For the reasons set forth above on pages 20–22, Heller’s text, history, and tradition standard

must be applied because the Handgun License requirement effects a ban and is unconstitional per

se under Heller. As demonstrated above, Kolbe incorrectly applied Chester’s two-part approach


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to evaluate a ban and should not be followed here. Regardless, the Handgun License requirement

fails either strict or intermediate scrutiny.

                1.      The Handgun License requirement burdens conduct within the scope
                        of the Second Amendment’s guarantee.

        Defendants do not dispute that the right to acquire a handgun in the home for self-defense

is a fundamental right protected by the Second and Fourteenth Amendments. Defendants cursorily

and incorrectly argue that the Handgun License requirement imposes “conditions” but not a

“burden” on this right. Defs. Mem., at p. 17, relying on Planned Parenthood of Se. Pa. v. Casey,

505 U.S. 833, 873 (1992) (evaluating a restriction on abortion rights under a very different “undue

burden” standard). Defendants cite no authority for this semantical distinction, and none exists. To

the contrary, in the analogous First Amendment context, the Supreme Court has held that

“requiring a permit as a prior condition on the exercise of the right to speak imposes an objective

burden on some speech of citizens holding [certain views].” Watchtower Bible & Tract Soc’y of

N.Y., Inc. v. Vill. of Stratton, 536 U.S. 150, 167 (2002).

        The undisputed facts demonstrate that the Handgun License requirement burdens

Plaintiffs’ Second Amendment rights. The Handgun License bans handgun acquisition by law-

abiding, responsible citizens unless they undergo a time-consuming, inconvenient, expensive,

redundant, and unnecessary application process. The Handgun License requirement has

discouraged at least one-quarter of Marylanders who wish to exercise their fundamental Second

Amendment rights from doing so. Compare Col. Pallozzi Third Supp. Interrog. Resp., Ex. 14, No.

5 (from October 1, 2013 through 2017, 30,877 Marylanders started a Handgun License application

but stopped before completing it) with Collective Ex. 15 (Maryland issued 93,165 Handgun

Licenses during this same time).




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       Because the Handgun License requirement burdens conduct within the Second

Amendment, the Court must turn to the second part of the two-part approach to select and apply

“an appropriate form of means-end scrutiny.” Chester, 628 F.3d at 680. Under this second part,

strict scrutiny is the only appropriate form of scrutiny because the Handgun License requirement

burdens the core right of self-defense in the home. Id.; see also pages 26–27 above. Defendants

cannot meet their burden under strict scrutiny, as demonstrated above on pages 27–31. Defendants

cannot meet their burden under intermediate scrutiny either.

               2.      Defendants cannot meet their burden under intermediate scrutiny.

       Intermediate scrutiny first requires Defendants to prove the existence of a real problem that

the Handgun License alleviates in a direct and material way. E.g., United States v. Nat’l Treasury

Empls. Union, 513 U.S. 454, 475 (1995) (quoting Turner Broad Sys., Inc. v. FCC, 512 U.S. 622,

664 (1994) (“Turner I”); see also Silvester v. Becerra, 138 S. Ct. 945, 948 (2018) (Thomas J.,

dissenting from denial of writ of certiorari in Second Amendment case). The Supreme Court has

made clear that under intermediate scrutiny:

       When the Government defends a regulation . . . as a means to redress past harms
       or prevent anticipated harms, it must do more than simply posit the existence of
       the disease sought to be cured. It must demonstrate that the recited harms are
       real, not merely conjectural, and that the regulation will in fact alleviate these
       harms in a direct and material way.

Turner Broad. Sys., 512 U.S. at 664 (citations omitted); see also, e.g., id. (citing Home Box Office,

Inc. v. FCC, 567 F.2d 9, 36 (9th Cir. 1977) (“A regulation perfectly reasonable and appropriate in

the face of a given problem may be highly capricious if that problem does not exist”); Reaching

Hearts Int’l, Inc. v. Prince George’s Cty., 584 F. Supp. 2d 766, 788 (D. Md. 2008) aff’d, 368 Fed.

App’x 370 (4th Cir. 2010). Solutions to hypothetical, abstract problems cannot survive

intermediate scrutiny. See FCC v. Beach Commc’ns, Inc., 508 U.S. 307, 315 (1993) (only rational-




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basis review allows the government to justify a law with “rational speculation unsupported by

evidence or empirical data”) (citations omitted).

        In Turner Broadcasting, the Supreme Court vacated summary judgment in favor of the

government because the government did not prove the existence of the claimed problem. 512 U.S.

at 667. Although the government presented a study showing that the claimed problem may or could

exist, the Court held that without “some additional evidence to establish” that the claimed problem

actually existed, the proposed remedy could not survive intermediate scrutiny. Id. at 667. On that

record, the Court “c[ould] not determine whether the threat . . . is real enough to overcome the

challenge to the provisions made by these appellants.” Id. The Court found it “significant, for

instance, that the parties have not presented any evidence” that the claimed problem actually

existed. Id.

        Defendants must demonstrate that the Handgun License requirement will in fact alleviate

dangers to public safety in a direct and material way; they have failed to do so. Assuming

Defendants could clear this initial burden, the Supreme Court is equally clear that intermediate

scrutiny requires Defendants to prove that laws impacting a fundamental right, such as the

Handgun License, are “narrowly tailored to serve a significant government interest.” McCullen v.

Coakley, 134 S. Ct. 2518, 2534 (2014). Defendants also have the burden to demonstrate that the

Handgun License does not “burden substantially more [protected conduct] than is necessary to

further the government’s legitimate interest.” Id. at 2535 (quoting Ward v. Rock Against Racism,

491 U.S. 781, 796 (1989)).

        The Fourth Circuit’s decision in Kolbe must be read in light of this Supreme Court

precedent. The Kolbe court recognized properly that First Amendment precedent is the proper

“guide” in Second Amendment litigation, but then departed from this standard, requiring only that




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“the government . . . show that the challenged law is reasonably adapted to a substantial

governmental interest.” Kolbe, 849 F.3d at 133 (quotations and citations omitted). Indeed, after

Kolbe was decided, the Supreme Court reaffirmed McCullen‘s intermediate scrutiny standard in

Packingham v. N.C., 137 S. Ct. 1730 (2017), stating that “[i]n order to survive intermediate

scrutiny, a law must be ‘narrowly tailored to serve a significant governmental interest.’” Id. at

1736 (quoting McCullen, 134 S. Ct. at 2534). This Court must use the Supreme Court’s articulation

of the test. See Chisolm v. TransSouth Fin. Corp., 95 F.3d 331, 337 n.7 (4th Cir. 1996) (stating

that circuit precedent is not binding if “superseded by a decision of the Supreme Court.”). Kolbe’s

formulation of intermediate scrutiny relied upon by Defendants, Defs. Mem., at p. 19, cannot be

reconciled with McCullen and its progeny.

        Under either formulation of the test, “[f]it matters” and where, like here, a statute is “poorly

tailored to the Government’s interest” it fails intermediate scrutiny. McCutcheon v. FEC, 572 U.S.

185, 218 (2014). Defendants must provide substantial evidence proving that the Handgun License

requirement is “narrowly tailored to serve a significant government interest” and does not “burden

substantially more [protected conduct] than is necessary to further that interest.” McCullen, 134 S.

Ct. at 2535. As demonstrated below, the Handgun License fails both prongs of this test.

        Plaintiffs acknowledge that in determining whether the Handgun License is narrowly

tailored, it is not the role of the Court to replace the judgment of the legislature with its own. Turner

Broad. Sys., 512 U.S. at 666. This does not mean, however, that predictive judgments of the

legislature are insulated from review. Id. Rather, a court must “assure that, in formulating its

judgments, [the legislature] has drawn reasonable inferences based on substantial evidence.” Id.

And this requirement of “substantial evidence” is itself substantial. In Turner Broad Sys., Inc. v.

FCC, 520 U.S. 180 (1997) (“Turner II”), the Court analyzed empirical evidence over the course




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of 20 pages before sustaining the legislature’s conclusion. Turner II, 520 U.S. at 196–224. See,

e.g., Young v. Hawaii, 896 F.3d 1044 (9th Cir. 2018) (“Mere citation is an inadequate application

of intermediate scrutiny, even according deference to the predictive judgment of a legislature, and

Turner Broadcasting itself shows why.”).

                   a. Defendants cannot establish that the recited harms exist or that the
                      Handgun License will alleviate these harms in a direct and material
                      way.

       The Handgun License cannot survive intermediate scrutiny because Defendants fail to

“demonstrate that the recited harms are real, not merely conjectural and that the regulation will in

fact alleviate these harms in a direct and material way.” E.g., Turner I, 512 U.S. at 664. At the very

least, Defendants also have failed to show that the Handgun License does not “burden substantially

more [protected conduct] than is necessary to further that interest,” Turner II, 520 U.S. at 2113–

14, or are otherwise “narrowly tailored” to legitimate goals. McCullen, 134 S. Ct. at 2534.

                       1. Defendants cannot establish that the additional 30-day delay
                          alleviates a demonstrated harm in a direct and material way.

       As noted above on page 29, allowing Defendants up to 30 days to review and rule upon a

Handgun License application is arbitrary and does not relieve Defendants of any demonstrated

harm. Prior to the Handgun License requirement, Defendants took seven days to investigate every

potential handgun purchaser. Md. Code Ann., Pub. Safety § 5-118; id. at § 5-123(a). Further,

Defendants concede that some “Handgun License applications have been processed the same

business day that they are received.” Col. Pallozzi Interrog. Resp., Ex. 20, No. 7. Defendants have

not established the need for a 30-day delay, and they should not be allowed any more time than

absolutely necessary to process Handgun License applications. This 30-day delay, tacked on to the

77R seven-business-day delay, cannot possibly be the least restrictive means to achieve whatever

Defendants’ unidentified interest may be.




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                       2. Defendants cannot establish that the fingerprint requirement
                          alleviates a demonstrated harm in a direct and material way.

       Defendants fail to demonstrate that the fingerprint requirement alleviates a demonstrated

harm in a direct and material way. Defendants claim that the fingerprint requirement “enables [the

Maryland State Police] to ensure that the applicant is positively identified and not using false

identification or altering his or her identification information” and “deter[s] straw purchasers and

those intending to purchase firearms solely for criminal purposes” from purchasing a handgun.

Defs. Mem., at pp. 21–24. But the 77R Handgun Registration process, along with the other federal

and state laws, already allowed Defendants to ensure that the applicant is positively identified and

not using a false identification. Defendants admit that the only possible harm for the Handgun

License to alleviate would be prohibited individuals who could have acquired a handgun after

undergoing a 77R Handgun Registration background check but not under the Handgun License

fingerprint requirement. See A. Johnson Dep., Ex. 6, at 112:8–117:7. Dispositively, Maryland

cannot identify a single individual who fits this description. Id. at 116:1–117:7. Defendants present

no evidence that anyone in Maryland ever used a false or altered identification to purchase a

handgun before the Handgun License requirement took effect. Id. at 113:3–21. Defendants also

present no evidence of any straw purchases or of individuals who purchased a handgun solely for

criminal purposes. Id. at 76:16–22; J. Johnson Dep., Ex. 7, at 25:10–16, 28:6–14. Because

Maryland is now REAL ID Act compliant, there is no likelihood of false identification.

       Defendants also claim that “a fingerprint record can be used to identify if a holder of a[]

[Handgun License] is convicted of a disqualifying offense subsequent to passing the initial

background investigation. . . . That identification enables [Maryland State Police] to revoke the

disqualified person’s [Handgun License] and, where necessary, retrieve unlawfully possessed

firearms.” Defs. Mem., at pp. 23–24. But the 77R Handgun Registration process allowed



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Defendants to easily locate and disarm handgun owners who were subsequently disqualified from

handgun ownership. Webster Dep., Ex. 5, at 19:14–20:14. And Defendants present no evidence

that the Maryland State Police was unable to disarm these individuals prior to the Handgun License

requirement under existing requirements. Id. Thus, Defendants cannot demonstrate the existence

of any harm for the fingerprint requirement to alleviate.

       Even if these alleged problems did exist, Defendants cannot demonstrate that the

fingerprint requirement alleviates them in a direct and material way. The Maryland State Police

and its expert Professor Webster admit that the fingerprint requirement does not add any benefit

from what the previous 77R Handgun Registration process conferred. See A. Johnson Dep., Ex. 6,

at 112:8–19; Webster Dep., Ex. 5, at 19:14–20:14. Thus the fingerprint requirement does not,

indeed could not, alleviate any problem in a direct and material way.

       Further, Defendants have no admissible evidence that the Handgun License alleviates

Maryland’s equally unsupported straw purchase problem. For this proposition, Defendants rely

upon Professor Webster’s discredited and irrelevant testimony. Professor Webster relies upon a

2017 study that purports to assess the Firearm Safety Act’s (“FSA”) impact on the supply of

handguns diverted to criminal use in Baltimore. Defs. Mem., at Ex. 19, ¶ 18 (citing Cassandra K.

Crifasi et al., The initial impact of Maryland’s Firearm Safety Act of 2013 on the supply of crime

guns in Baltimore, 3(5) The Russel Sage Foundation Journal for the Social Sciences 128–40 (2017)

(the “Baltimore Study”)). But the Baltimore Study is of no help to Defendants. Although it

concludes that the FSA caused a reduction in the supply of crime handguns in Baltimore, this

conclusion is not based on any actual (or reliable) data on the supply of crime handguns in

Baltimore or anywhere else. Kleck Decl., Ex. 24, at ¶¶ 4–12. The study utilized firearms trace data

on guns recovered by police. This trace data, however, is useless in assessing the supply of crime




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guns. Id. The ATF disclaims explicitly that “[t]he firearms selected [for tracing] do not constitute

a random sample and should not be considered representative of the larger universe of all firearms

used by criminals, or any subset of that universe.” Bureau of Alcohol, Tobacco, Firearms and

Explosives.      Firearms      Trace     Data,     2016:     Maryland,       https://www.atf.gov/docs/163521-

mdatfwebsite15pdf/download. Therefore, trace data cannot be used to draw conclusions regarding

Baltimore crime guns or crime guns generally, rendering the study’s conclusion useless under

standard statistical models. Kleck Decl., Ex. 24, at ¶¶ 6–8. Most importantly, Professor Webster’s

study cannot isolate the effect, if any, of the Handgun License requirement from all of the other

factors he admits bear upon the supply of crime guns in Baltimore. See Webster Dep., Ex. 5, at

248:16–251:20; Kleck Decl., Ex. 24, at ¶ 10–11. Professor Webster’s testimony and studies

provide Defendants with no evidence that the fingerprint requirement alleviates the claimed straw

purchase problem.8

                           3. Defendants cannot establish that the additional half-day classroom
                              training with live-fire requirement alleviates a demonstrated harm
                              in a direct and material way.

         Defendants cannot demonstrate that the additional safety course with live-fire requirement

alleviates a demonstrated harm in a direct and material way. Defendants claim seven purposes

accomplished by the classroom training with live-fire requirement, including: (1) “reduc[ing] the

likelihood that a member of a household who is not eligible to possess a firearm [possesses a

firearm;]” (2) “may[be] deter[ring] straw purchasers[;]” (3) “enhance[ing] knowledge of and

compliance with State laws[;]” (4) “reduc[ing[ access of firearms to children[;]” (5) “reduc[ing]

the risk of accidental discharges[;] (6) “reduc[ing] the likelihood of theft[;]” and (7) “enhance[ing]



8
  Defendants make cursory reference to two other studies, both of which discuss the possibility that permit-to-purchase
laws reduce the homicide rate. Defs. Mem., at pp. 23–24. Defendants do not claim the homicide rate is a problem the
fingerprint requirement will alleviate. See id. Nevertheless, both studies are fatally flawed and provide no support to
Defendants. Kleck Decl., Ex. 24, at ¶¶ 13–23.


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effective law enforcement.” Defs. Mem., at pp. 26–27. But Defendants concede readily that they

have no evidence that any of these issues were real problems or that a half-day of training and a

live-fire requirement have or will alleviate them in a direct and material way. Regarding claimed

interests (1) and (4), Defendants fail to demonstrate that prohibited individuals and children were

accessing handguns at home or that these individuals are accessing handguns less than before the

Handgun License went into effect. A. Johnson Dep., Ex. 6, at 109:12–111:9. Regarding claimed

interest (2), Defendants have no evidence of a single straw purchase in Maryland from before the

Handgun License took effect (or, necessarily, that the Handgun License requirement deterred any

straw purchases). Id. at 76:16–22, 113:3–9; J. Johnson Dep., Ex. 7, at 25:10–28:14. Regarding

claimed interest (3), Defendants have no evidence that the Handgun License requirement has

effected better gun storage practices in Maryland. A. Johnson Dep., Ex. 6, at 109:7–110:11.

Regarding claimed interest (5), Defendants have no evidence of a single accidental discharge,

either before or after the Handgun License requirement. Id. at 75:17–76:11. Regarding claimed

interest (6), Defendants have no evidence of handgun theft, either before or after the Handgun

License requirement. Id. at 119:16–18. And regarding claimed interest (7), Defendants have no

evidence that the Handgun License requirement has enhanced effective law enforcement. The

firearms safety training with live-fire requirement are non-answers to hypothetical problems and

thus cannot survive intermediate scrutiny. Turner Broad. Sys., 512 U.S. at 664.

                   b. Defendants cannot establish that the Handgun License is narrowly
                      tailored to serve a substantial government interest.

       The Handgun License is not narrowly tailored because it imposes burdens without any

concomitant benefit. Each individual requirement is independently as burdensome as it is

unnecessary.




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                         1. The additional 30-day delay is not narrowly tailored to serve a
                            substantial government interest.

       Defendants do not even attempt to meet their burden of demonstrating that the additional

30-day delay (in addition to the post-purchase waiting period mandated by Md. Code Ann., Pub.

Safety § 5-123(a)) is narrowly tailored to a substantial interest. Defendants also fail to put forth

any proof that the delay is narrowly tailored to meet this unidentified interest. Because Defendants

fail to put forth any proof, they necessarily cannot demonstrate that the additional 30-day delay is

narrowly tailored to serve a substantial government interest. Turner I, 512 U.S. at 664.

                         2. The fingerprint requirement is not narrowly tailored to serve a
                            substantial government interest.

       The fingerprint requirement burdens far more protected conduct than is necessary to serve

Defendants’ claimed interests in preventing straw purchases, preventing purchases with false or

altered identification, and revoking Handgun Licenses from disqualified individuals. This is

necessarily true because the fingerprint requirement is universal but, as demonstrated above on

pages 49–51, does not further any of these interests. The fingerprint requirement adds a burden but

no benefit and thus fails intermediate scrutiny. Additionally, for the reasons described above on

pages 49–51, Defendants do not have a substantial interest in using fingerprints to revoke Handgun

Licenses.

                         3. The classroom training with live-fire requirement is not narrowly
                            tailored to serve a substantial government interest.

       The additional half-day classroom requirement is not narrowly tailored to achieve a

substantial government purpose. As demonstrated above on pages 7–8, the Handgun License

safety course is substantively identical to the 77R Handgun Registration online presentation. The

additional burdens imposed by the Handgun License course provide no benefit and cannot survive

intermediate scrutiny.




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       Additionally, the live-fire requirement is not narrowly tailored to advance Defendants’

claimed interests in safe storage of a firearm (and the negative consequences that arise from unsafe

storage). Rather, it is unrelated entirely. In firing a firearm, Handgun License applicants do not

learn how or where to store a firearm. Rather, the applicant must only “safely fire[] at least one

round of live ammunition.” COMAR 29.03.01.29 (emphasis added). Maryland does not require

any additional hands-on practice regarding safe storage. See id. Thus this requirement is not

substantially related to Defendants’ stated interest.

       While Defendants purport to rely on Heller III, Defs. Mem., at p. 27, Defendants fail to

note that the D.C. Circuit in Heller III struck down a training requirement that mandated instruction

in the law, a requirement that is virtually identical to the same requirement imposed by Section 5-

117.1(d)(3)(ii)(1). See Heller III, 801 F.3d at 278–79 (holding that the District had “presented no

evidence from which it could conclude that passing a test of knowledge about local gun laws”

sufficiently “fit” the District’s justification and that “the test of legal knowledge” was therefore

unconstitutional). Heller III sustained the other training requirements imposed by the District’s

law, but that training consisted of merely watching a one-hour video online, id. at 279, exactly

what the 77R Handgun Registration previously required. That hardly compares to the Handgun

License training: four hours of classroom attendance plus live-fire training by a State-approved,

State-licensed instructor at a range.

       Defendants also fail to acknowledge that the one-hour online video at issue in Heller III

came about only after the District had abandoned its earlier training requirement that had been

challenged in Heller II, in which the District had required “a total of at least one hour of firing

training at a firing range and a total of at least 4 hours of classroom instruction.” Heller II, 670

F.3d at 1249. The D.C. Circuit held that this training requirement, among other “novel” registration




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requirements, made “it considerably more difficult for a person lawfully to acquire and keep a

firearm, including a handgun, for the purpose of self-defense in the home.” Id. at 1255. The court

applied intermediate scrutiny, vacated summary judgment for the District and remanded for a

further factual inquiry, holding that the District had failed to present “evidence to substantiate its

claim that these requirements can reasonably be expected to promote either of the important

governmental interests” asserted by the District. Id. at 1259. After that remand, the District

repealed its training requirement and substituted the one hour of online video. See Heller III, 801

F.3d at 269. As noted above, even then, the D.C. Circuit still invalidated the legal training part of

that one hour video requirement. Like the District in Heller II, Defendants have not justified the

much more burdensome training requirements at issue here that closely resemble those at issue in

Heller II. Instead, as noted above, the Handgun License is a pretext for Defendants to reduce the

exercise of the Second Amendment generally. That interest cannot survive any heightened

constitutional scrutiny.

                   c. Defendants enacted the Handgun License without substantial evidence.

       None of the Handgun License requirements were “based on substantial evidence.” Turner

I, 512 U.S. at 666. Defendants state that the Maryland General Assembly heard from “various

public policy and law enforcement experts advocating for the [Handgun License] requirements.”

Defs. Mem., at p. 3. This is a vast overstatement at best. These so-called experts included Professor

Daniel Webster, former Baltimore County Police Chief James Johnson, and former Baltimore City

Police Commissioner Anthony Batts. Id. at pp. 3–4. None of these individuals advocated for the

live-fire requirement. Further, both former-Chief Johnson and former-Commissioner Batts

provided only conclusory, general support for the fingerprint and additional firearm safety course

requirements. Neither provided any reason why these requirements are necessary, whether they

were narrowly tailored to respect law-abiding Marylanders’ Second Amendment rights, or how


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they would enhance public safety in Maryland. For instance, former-Chief Johnson testified only

that “[t]he requirement that purchasers obtain proof that they completed firearms safety training is

an exceptional element of the Bill.” Defs. Mem., at Ex. 5. Similarly, former Commissioner Batts’

testimony consisted of a conclusory statement that a background check using fingerprints will

“ensur[e] that the applicant is not prohibited from possessing a handgun.” Defs. Mem., at Ex. 6.

He also testified in support of “training” but again did not testify what training he had in mind or

why it would be beneficial. Id. These testimonies do not provide any specific support for the

Handgun License and fail to demonstrate that the 77R Handgun Registration process is inadequate.

       Professor Webster testified only in support of a fingerprint requirement that did not become

part of the Handgun License requirement as passed. Defs. Mem., at p. 3 & Ex. 3. He testified that

if the fingerprints were “processed directly by law enforcement agencies – which [he] assume[d]

would be the case when the Secretary writes regulations to implement the statute – [this] would

result in fewer false applications for firearm purchases being processed.” Id. But Maryland does

not process fingerprints directly with law enforcement agencies; it uses private vendors. COMAR

12.15.05. Thus his testimony is irrelevant and cannot support the Handgun License or its

fingerprint requirement. Additionally, although Professor Webster discussed the findings of a

study conducted by the United States General Accounting Office (“GAO”), he later conceded the

inapplicability of this study to Maryland or the Handgun License requirement. The GAO did not

examine Maryland, and the states at issue in the GAO study did not have handgun purchase laws

similar to Maryland’s 77R Handgun Registration process. Webster Dep., Ex. 5, at 23:7–13,

170:19–171:19. Finally, Professor Webster’s research, which he referenced at the hearings, is

similarly inapplicable to the Handgun License. Professor Webster concedes that he has not

researched handgun violence in states with laws similar to Maryland’s Handgun License. Although




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several states, i.e., Connecticut and Missouri, have or did have permit-to-purchase laws, the only

shared requirement between these states and Maryland is a nominal license requirement. Id. at

189:9-13. The requirements to obtain these licenses differ in critical ways, rendering the studies

useless here. See Kleck Decl., Ex. 24, at 13–23; see also Webster Dep., Ex. 5, at 178:20–180:1,

184:16–190:5.

       The undisputed evidence in this case shows that Defendants have failed to prove that the

Handgun License requirement is narrowly tailored to meet a substantial government interest. The

Handgun License requirement levies a substantial burden on plaintiffs’ Second Amendment rights,

while advancing very little, if at all, the government’s claimed interests. For these reasons, the

Handgun License requirement cannot withstand even intermediate scrutiny, the lowest standard to

which it can be held.

       C.       The Handgun License requirement violates the Due Process Clause of the
                Fourteenth Amendment.

       As the Supreme Court recently stated in Johnson v. United States, 135 S. Ct. at 2556, “[o]ur

cases establish that the Government violates [the due process] guarantee by taking away someone’s

life, liberty, or property under a criminal law so vague that it fails to give ordinary people fair

notice of the conduct it punishes, or so standardless that it invites arbitrary enforcement.”

(collecting cases). See also Sessions v. Dimaya, 138 S. Ct. 1204, 1212 (2018) (“‘the prohibition of

vagueness in criminal statutes…is ‘essential’ of due process, required by both ‘ordinary notions of

fair play and the settled rules of law.’”) The legislature has an “obligation to establish adequate

guidelines for enforcement of the law” and that obligation is “‘the more important aspect of the

vagueness doctrine.’” Aston v. Brown, 660 A.2d 447, 456 (Md. 1995) (quoting Kolender v.

Lawson, 461 U.S. 352, 358 (1983)). A vague statute must be struck down even if some applications




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are clear, a point confirmed by the Fourth Circuit in the Kolbe litigation. See Kolbe, 849 F.3d at

148 n.19.

                 1.    The terms “receive” and “receipt” are fatally vague.

        Section 5-117.1(b) bans a seller from making a “transfer” of a handgun to a person who

does not have a Handgun License. Section 5-117.1(c), in contrast, allows only a person who has a

Handgun License to “receive” a handgun. Section 5-117.1 is enforced under Section 5-144(a),

which punishes (with 5 years of imprisonment) the “participation” in any “transfer” or “receipt”

of a handgun that is prohibited by Section 5-117.1(b),(c). The terms “transfer,” “receive” and

“receipt” are not defined in the statute or the regulations.

        While the “plain meaning” of a statue is usually controlling in Maryland, Huffman v. State,

356 Md. 622, 628, 741 A.2d 1088, 1091 (1999), in cases of doubt, the Maryland courts turn to

Black’s Law Dictionary and other common dictionaries for definitions of statutory terms that are

left undefined by law. See, e.g., Matter of Reese for Howard County, 2018 WL 3642142 (July 31,

Md. 2018). Black’s Law Dictionary defines “transfer” to include “an act of the parties, or of the

law, by which the title to property is conveyed from one living person to another.” Transfer, The

Law Dictionary, https://thelawdictionary.org/transfer-n/. Thus, in Chow v. State, 903 A.2d 388,

407 (Md. 2006), the Maryland Court of Appeals turned to Black’s Law Dictionary and other

dictionaries to determine the meaning of “transfer” as used in Md. Code Public Safety § 5-124,

Chow, 393 Md. at 445, to conclude that “transfer” meant the permanent transfer of ownership of a

handgun. Id. at 447–48.

        As in Chow, Black’s Law dictionary should inform the analysis concerning the meaning

of “receive” and “receipt.” Black’s Law Dictionary defines the term “receive” simply to mean

“[t]o       acquire    or     get      something.”       Receive,    The     Law       Dictionary,

https://thelawdictionary.org/receive/, (last visited Oct. 5, 2018). Likewise, the Merriam-Webster


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Dictionary defines the transitive verb “receive” to mean simply “to come into possession of.”

Receive, Merriam-Webster, available at https://www.merriam-webster.com/dictionary/receive

(“[t]he primary meaning of the verb ‘to receive’ is ‘to take possession or delivery of,’ as of a gift

or of a letter”) (citation omitted). Similarly, the use of the term “receipt” in Section 5-144 (the

enforcement provision for Section 5-117.1) is the “[t]he action of receiving something or the fact

of      its     being       received.”      Receipt,       Merriam-Webster,         available        at

https://en.oxforddictionaries.com/definition/receipt. “Receipt” thus essentially means “receive.”

       If “receive” is given its dictionary meaning, then subsection 5-117.1(c) broadly bans the

simple act of acquiring, getting or taking possession of a handgun by any means, including mere

temporary possession. Yet, that reading would criminalize even temporary possession of a

handgun in the home by anyone who lacks a Handgun License. That creates enormous potential

liability for plaintiffs. Under Section 5-117.1(c), as enforced by Section 5-144(a), all MSI members

are exposed to arrest and prosecution merely by “participating” in providing temporary possession

(“receipt”) to another person who does not possess a Handgun License, including a spouse or a

member of the family. Those in “receipt” are likewise subject to arrest and prosecution for their

“participation” in such a possession. The statute could thus easily send an entire family to jail.

       Moreover, the Handgun License regulations, challenged here, require live-fire of a

handgun as part of that training and live-fire is obviously impossible without at least the temporary

receipt of a handgun. Indeed, the “orientation component” required by Section 5-117.1(d)(3)(iii),

effectively requires temporary possession in the classroom. It is, therefore, impossible for MSI’s

members who are private instructors, Pennak Decl., Ex. 2, at ¶¶ 2 –3, to provide the required

training – or for citizens to receive it – without risking “arbitrary enforcement.” Johnson, 135 S.




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Ct. at 2256. At a minimum, a state may not impose a requirement and then make it impossible to

satisfy that requirement. See Broderick v. Rosner, 294 U.S. 629, 639 (1935) (Brandeis, J.).

        That criminalization of temporary possession is utterly incompatible with Heller’s ruling

that law-abiding citizens have a constitutional right to possess a handgun in the home, as

Defendants have realized in consistently refusing to adopt any such plain language reading of

“receive” in this case. Consequently, on November 17, 2017, hardly two months after Judge Garbis

refused to dismiss plaintiffs’ claim, the Maryland State Police issued Advisory LD-HQL-17-003.

See Defs. Mem., at p. 31 (relying on this Advisory). That Advisory decreed that “receive” actually

means only a permanent receipt, just as a “transfer” in Chow meant permanent transfer. Critically,

however, this interpretation is not contained in any regulation. That refusal to issue a regulation is

consistent with the State Police’s refusal to define these terms in 2013 when MSI submitted

comments to the proposed Handgun License regulations authorized by Section 5-117.1(n), and

specifically requested that the Maryland State Police regulations include a definition of the

statutory words “receive” and “receipt.” Pennak Decl., Ex. 2, at ¶ 5 & Ex. A. The Maryland State

Police ignored MSI’s request for a regulatory definition, and there are no definitions, in either the

statute or the regulations, of these critical words.

                2.      Chow does not save this statute from vagueness invalidation.

        In issuing the Advisory, Defendants effectively have conceded that banning temporary

possession or receipt in the home would be indefensible under Heller. Yet, the Advisory does

nothing to protect the right to possession in the home. First, nothing in Chow actually addresses

the meaning of “receive,” much less that term as it is used in Section 5-117.1. Chow held that an

illegal “transfer” under Section 5-124 required a “permanent exchange of title or possession,” and

held that a temporary exchange would not support a conviction. Chow, 903 A.2d at 402.




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       At issue here is the meaning of the word “receive,” not the word “transfer.” Subsection 5-

117.1(c), the subsection at issue here, does not use “transfer” (or “transferee”) at all. Rather,

subsection 5-117.1(c) states that a person may not “receive” a handgun without a Handgun

License. Any definition of the word “transfer” as it is used in Section 5-124, the statute at issue in

Chow, has no obvious bearing on the meaning of the different word “receive” as used in subsection

5-117.1(c). The plain meaning of “transfer” and “receive” are obviously different, as the dictionary

definitions confirm.

       This is confirmed by Section 5-144(a), which makes it a crime to “knowingly participate”

in any “rental, transfer, purchase, possession, or receipt,” covered by Section 5-117.1(b) & (c). It

is well established that “if there is no clear indication to the contrary and it is reasonably possible,

a statute is to be read so that no word, clause, sentence or phrase shall be rendered surplusage,

superfluous, meaningless or nugatory.” State Bd. of Elections v. Snyder ex rel. Snyder, 76 A.3d

1110, 1126 & n. 28 (Md. 2013). Thus, “participating” in a “transfer” (including acting as the

“transferee”) must therefore mean something different than “participating” in a “receipt.” It is

perfectly possible for a “receipt” to take place without a “transfer” as defined in Chow, precisely

because a “transfer” may mean a permanent “transfer” (as Chow held) while a “receipt” may well

include any temporary possession, just as it means under federal law and in standard dictionary

definitions.

       Stated differently, had the General Assembly intended the Handgun License requirement

to apply only to a permanent or otherwise non-temporary receipt of a handgun, it would have used

“transfer” in subsection 5-117.1(c), or it could have defined “receive” to mean the permanent

receipt. It did neither. Indeed, the legislature is presumed to have knowledge of all judicial

decisions interpreting its laws. Fangman v. Genuine Title, LLC, 136 A.3d 772, 791 n.18 (Md.




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2016). If, like Defendants insist, the word “transfer” has a particular meaning as determined by

Chow, then the General Assembly’s use of a different word (“receive”) must have a different

meaning, because “the Legislature is presumed to have meant what it said and said what it meant.”

Arundel Corp. v. Marie, 860 A.2d 886, 894 (Md. 2004) (citation omitted). In short, “receive” and

“receipt” are fatally vague because “ordinary people” do not have “fair notice” as to whether these

terms include a mere temporary possession, or not.

                3.      The Maryland State Police Advisory is entitled to no weight or
                        deference.

       Nothing in the Maryland State Police Advisory changes any of this. While the legislature

has stated that the Maryland State Police “may adopt regulations to carry out the provisions of this

section” under Section 5-117.1(n), the Maryland State Police has not set out this definition of

“receive” in actual “regulations.” Tellingly, a regulation might give the interpretation some legal

force, but the Maryland State Police has adroitly avoided that consequence by issuing a mere

Advisory. The Maryland State Police has thus quite purposefully continued its prior refusal to give

these terms meaning in actual regulations. An “Advisory” may be disregarded or changed at any

time for any reason or no reason, without notice or consequence.

        First, in issuing an Advisory rather than a regulation, and only then shortly after Defendants

lost their motion to dismiss, the Advisory was obviously issued purely for the purpose of securing

a litigation advantage in this case, rather for any legitimate reason. Such a transparent “litigation

position” non-regulatory administrative action is not entitled to any consideration by this Court.

See, e.g., Sierra Club v. Dept. of the Interior, at 286–87 (refusing to give any credence to “litigation

positions that do not reflect an exercise of delegated legislative authority”). The Advisory should

be disregarded on this ground alone.




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        Second, nothing in this Advisory precludes prosecution. In Maryland, the prosecution

authority lies with the State’s Attorneys. See Murphy v. Yates, 348 A.2d 837 (Md. 1975). The

State’s Attorneys are independent of the Attorney General under the Maryland Constitution. See

Md. Const. Art. V, § 7. Maryland law also holds that “equitable estoppel does not apply against

the State in regard to governmental functions,” Heartwood 88, Inc. v. Montgomery Cty., 846 A.2d

1096, 1117 (Md. Ct. App. 2004), which means that local law enforcement and State’s Attorneys

and the Maryland State Police itself, are free to proceed without regard to the Advisory. See

Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962) (“the integrity of the

administrative process requires that courts may not accept appellate counsel’s post hoc

rationalizations for agency action . . . .”). (quotation omitted).

        Third, in effect, the Advisory amounts to no more than a non-binding assurance, for now,

that the State Police will not arrest for temporary possessions. Yet, such assurances cannot save a

statute. See McDonnell v. United States, 136 S. Ct. 2355, 2373–74 (2016) (noting that “we cannot

construe a criminal statute on the assumption that the Government will ‘use it responsibly’”)

(quoting United States v. Stevens, 559 U.S. 460, 480-81 (2010) (“We would not uphold an

unconstitutional statute merely because the Government promised to use it responsibly.”));

Wollschlaeger v. Governor, Fla., 848 F.3d 1293, 1322 (11th Cir. 2017) (“But we cannot find

clarity in a wholly ambiguous statute simply by relying on the benevolence or good faith of those

enforcing it.”); Lewis v. Alexander, 685 F.3d 325, 341 (3d Cir. 2012), cert. denied, 568 U.S. 1123

(2013) (“to the extent the agency is pleading for a chance to interpret the statute more leniently

than the statute’s text might suggest, we question whether we can credit such an interpretation”).




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       D.      The Maryland State Police regulations and application practices are void
               because they are inconsistent with Section 5-117.1.

       “While reliance upon the broad statutory authority conferred by the Legislature generally

will be sufficient to justify an agency’s regulation/rule making authority, logic compels the self-

evident conclusion that there is an outer limit to an agency’s authority.” Medstar Health v. Md.

Health Care Comm’n, 827 A.2d 83, 96 (Md. 2003). Accordingly, “[a]n agency’s authority extends

only as far as the General Assembly prescribes.” Thanner Enters., LLC v. Balt. Cty., 995 A.2d 257,

263 (Md. 2010). Thus, an agency’s rule or regulations cannot “contradict the language or purpose

of the statute.” Medstar Health, 827 A.2d at 96. As demonstrated below, the Maryland State Police

regulations and practices violate Section 5-117.1 in multiple ways.

               1.      The live-fire requirement is not authorized by law.

       First, the Maryland State Police has grafted onto Section 5-117.1(d)(3)(iii)‘s requirement

of a “firearms orientation component” an entirely new “practice component” under which the

applicant must safely fire “at least one round of live ammunition.” COMAR 29.03.01.29C(4).

Although Section 5-117.1(n) provides that “[t]he Secretary may adopt regulations to carry out the

provisions of this section,” it does not allow the Maryland State Police to add new “provisions,”

such as adding “a practice component” to the statutorily required “orientation component.”

Teaching safe handling of a firearm can be accomplished without a “practice” component. Pennak

Decl., Ex. 2, at ¶¶ 9–11. An instructor need only make use of dummy rounds to provide the

“orientation” required by the statute. Live-fire is not needed to provide an “orientation” or a

“demonstration.” Id., Ex. 2, at ¶¶ 7–9. By itself, a requirement to fire one round of live ammunition

serves no training purpose at all. Id. at ¶¶ 8–11. Defendants’ expert conceded that point in

discovery. See J. Johnson Dep., Ex. 7, at 52:14–53:2 (“I think just firing one round is not

adequate”).



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        The legislative history of the Handgun License requirement also contradicts Defendants’

argument. As originally proposed, the Handgun License provisions required a safety course that

included “a firearms qualification component that demonstrates the person’s proficiency and use

of the firearm.” 2013 Leg. Sess. SB 281 (First Reader) at 17.9 By common usage of these terms, a

“qualification component” that demonstrates “proficiency” calls for live fire. This “qualification

component” was deleted, however, and Section 5-117.1(d)(3)(iii) was changed to its current

language by amendment in the House of Delegates. Chapter 427 of the 2013 Laws of Maryland.

The debate on the floor of the House of Delegates confirms that the amendment was intended to

eliminate a live-fire requirement that would have been associated with the “proficiency and use”

language. General Assembly of Maryland, 2013 Regular Session Proceedings – House Audio,

April 2, 2013, Session 2, at 19:05 (April 2, 2013).10 The General Assembly’s rejection of this

language in the law as passed means that live fire training exceeds the scope of the statutory grant.

        Reading the statute as limiting the training requirements to those statutorily enumerated is

also necessary to avoid rendering the law unconstitutional. See Washington Suburban Sanitary

Com’n v. Phillips, 994 A.2d 411, 420 (Md. 2010) (“a construction of a provision which casts doubt

on its constitutionality should be avoided”). The live-fire component imposes severe burdens on

the ability of Maryland citizens to obtain a Handgun License. Training without a live-fire

requirement can take place anywhere, while training that must include live-fire can only take place

at a firing range, the availability of which is highly limited (there are none in Baltimore City, for

example). Pennak Decl., Ex. 2, at ¶¶ 9, 11.




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 Available at http://mgaleg.maryland.gov/2013RS/bills/sb/sb0281f.pdf.
10
                                                  Available                                             at
http://mgaleg.maryland.gov/webmga/frmlegislation.aspx?id=2013rs_house_audio&stab=02&pid=legisnlist&tab=su
bject3&ys=2013rs.


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       The need for a range, in turn, acts as a complete barrier to the acquisition of a Handgun

License by persons, especially the poor, minorities and the disadvantaged, who live in areas, such

as Baltimore and most of urban Maryland, where access to a shooting range is highly limited or

non-existent. Id. at ¶ 11. While Defendants assert, Defs. Mem., at p. 7, that this problem can be

alleviated by the use of “non-lethal marking projectiles” also known as simunition rounds, in fact

that assertion is wrong for multiple reasons. First, these rounds are designed for high level, force-

on-force combat training and they can be quite dangerous. Pennak Decl., Ex. 2, at ¶ 13. Such

ammunition requires special, expensive modifications to handguns and special protective

equipment to fire safely. Id. at ¶¶ 12–13. Few instructors have access to such equipment or

facilities. Id. at ¶14. No student needs combat training to demonstrate “the safe operation and

handling of a firearm” under Section 5-117.1(d)(3)(iii).

       Second, in any event, as the Maryland State Police expressly recognize in Advisory LD-

HQL-17-004, Pennak Decl., Ex. 2, at ¶¶ 12, 15 & Ex. B, simunition rounds are legally considered

to be live ammunition under Maryland law, Md. Code Public Safety § 5-133.1(a), and the

discharge of such ammunition is flatly banned by local law in the urban portions of Maryland,

including all of the City of Baltimore, all of Prince Georges County and most of Montgomery

County. Id. at ¶¶ 15–18. The sole exception is for discharges taking place on “established ranges”

which are protected from local regulation by state law, Md. Code, Criminal Law § 4-209(d)(2).

Pennak Decl., Ex. 2, at ¶ 11. Again, there are very few such ranges in these areas (and none in

Baltimore City). Id. at ¶¶ 15–18. Defendants conceded this point in discovery. J. Johnson Dep.,

Ex. 7, at 54:14–17. In short, Defendants’ suggestion, Defs. Mem., at p. 7, that such simunition

rounds can be used outside the range may well be true at special police training facilities with

proper equipment, but for everyone else, such use would be directly contrary to law in all these




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urban areas. Given the modifications required, the use of such rounds would be grossly impractical

and expensive everywhere. But for the live-fire requirement, Handgun License instruction could

take place in any otherwise suitable location, including urban areas, as state law provides that local

governments “may not prohibit the teaching of or training in firearms safety, or other educational

or sporting use” of firearms. Md. Code, Criminal Law, § 4-209(b)(2). Pennak Decl., Ex. 2, at ¶ 19.

The live-fire requirement thus effectively reduces firearms instruction, which is precisely contrary

to Defendants’ supposed goal.

       The patent absurdity of the live-fire requirement makes painfully obvious that the real goal

was to create an unjustifiable obstacle to the right to purchase a handgun for self-defense in the

home. Heller II, 601 F.3d at 1249, 1255 (holding that the live-fire and 4 hour classroom training

requirement then imposed by the District imposed substantial burdens on the right to possess a

handgun and remanding). As established above, that goal is constitutionally impermissible. See

above at pages 22–25.

               2.       The Maryland State Police has illegally shifted its duties under Section
                        5-117.1(f) to the applicants and private vendors and eliminated NRA
                        instructors as a separate category of “qualified handgun instructors.”

       Finally, the Maryland State Police has unlawfully hijacked the state-certified private

fingerprint vendor system to avoid the requirements imposed by Section 5-117.1(f). It has thus

burdened applicants with the additional fees charged by private vendors while at the same time

effectively restricted access to inconvenient fingerprinting services to those offered by that system.

The express terms of Section 5-117.1(f) require the Secretary to apply to the state “Central

Repository” for a background check and further requires that “the Secretary shall submit” the

following: (i) the Handgun License applicant’s fingerprints to the Director of the Central

Repository and to the FBI and to the Secretary; (ii) the fee authorized by Md. Code Criminal




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Procedure 10-221(b)(7) for access to Maryland Criminal records; (iii) the processing fee required

by the FBI for a background check.

        Instead of making these required submissions, the Maryland State Police use the existing

State-certified private vendor system. This use is not even addressed, much less authorized by the

regulations, but is entirely a matter of Maryland State Police practice. Under this system, it is the

applicant, via the vendor, who is actually making every one of these submissions, not the Secretary.

        Yet, Section 5-117.1(f)(3) expressly requires every one of these submissions to be made

by “the Secretary.” This shift (1) forces the use of the burdensome online application system

mandated by the Maryland State Police, (2) maximizes the administrative convenience of the

Maryland State Police, and (3) off-loads all the burden and costs of these private services onto the

applicant, who must pay the vendor a fee for these services. See COMAR 12.15.05.07D. Such a

system is flatly ultra vires.

        Finally, the Maryland State Police has unlawfully refused to accept training certifications

issued by instructors certified by a “nationally recognized firearms organization” (NRA) even

though these individuals are specifically designated as a separate category of “qualified handgun

instructors” by statute. Md. Code Ann., Public Safety § 5-101(q)(3). Rather, NRA instructors must

become Maryland State Police licensed instructors under Section 5-101(q)(2), thereby effectively

doing away with Section 5-101(q)(3) instructors as a separate category of instructors. Pennak

Decl., Ex. 2, at ¶ 10. The Maryland State Police has thus illegally conscripted Section 5-101(q)(3)

instructors into its online system for applications. Id.




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                                           Conclusion

       For the foregoing reasons, Plaintiffs respectfully request the Court deny Defendants’

Motion for Summary Judgment and grant Plaintiffs’ Cross-motion for Summary Judgment,

declaring Section 5-117.1 of the Public Safety Article of the Maryland Code to be unconstitutional

under Second and Fourteenth Amendments to the Constitution and Maryland State Police

regulations and practices void because ultra vires.


                                             Respectfully Submitted,

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Dated: October 5, 2018                       Counsel for Plaintiff Atlantic Guns, Inc.




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                 Table of Exhibits to Plaintiffs’ Memorandum in Support of
           Cross-motion for Summary Judgment and in Opposition to Defendants’
                              Motion for Summary Judgment

Exhibit No.    Title
    1.         Declaration of Stephen Schneider filed under seal
     2.        Declaration of Mark Pennak
     3.        Excerpts of the Deposition of Susan Vizas
     4.        Excerpts of the Deposition of Deborah Miller
     5.        Excerpts of the Deposition of Daniel Webster
     6.        Excerpts of the Deposition of Andy Johnson
     7.        Excerpts of the Deposition of James Johnson
     8.        Excerpts of the Deposition of James Russell
     9.        77R Handgun Registration Safety Course Training Video
     10.       Md. Code Ann., Pub. Safety § 5-118 (2003)
     11.       Excerpts of the Deposition of Diane Armstrong
     12.       J. Joseph Curran, A Farewell To Arms The Solution to Gun Violence in America
               (Oct. 20, 1999)
     13.       Firearm Safety Act, 2013 Maryland Laws Ch. 427 (S.B. 281)
     14.       Defendants William M. Pallozzi’s Third Supplemental Answers to Plaintiff
               Atlantic Guns, Inc.’s First Set of Interrogatories
     15.       Deposition Exhibits 48, 105 & 106
     16.       Excerpts of the Deposition of Dana Hoffman
     17.       Excerpts of the Deposition of Mark Pennak
     18.       Deposition Exhibit 21
     19.       Excerpts of the Deposition of Stephen Schneider
     20.       Defendant William M. Pallozzi’s Answers to Plaintiff Atlantic Guns, Inc.’s First
               Set of Interrogatories
     21.       Administrative Log
     22.       Maryland Crime Statistical Data
     23.       Declaration of Carlisle Moody
     24.       Declaration of Gary Kleck
     25.       Excerpts of the Deposition of Scott Miller
     26.       Excerpts of the Deposition of John Clark
     27.       Declaration of Connor Blair


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 5th day of October, 2018, the foregoing was served, via

electronic delivery to Defendants’ counsel via CM/ECF system which will forward copies to

Counsel of Record. I also certify to the service via United States Mail copies of Exhibit 1 (filed

under seal) and Exhibit 9 to Defendants’ counsel.



                                             /s/ John Parker Sweeney
                                             John Parker Sweeney (Bar No. 08761)




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